                IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


In re Application of KARAM SALAH       )
AL DIN AWNI AL SADEQ and               )
STOKOE PARTNERSHIP SOLICITORS          )
for an Order Under                     )     1:21mc6
28 U.S.C. § 1782 to Conduct            )
Discovery for Use in Foreign           )
Proceedings.                           )

                     MEMORANDUM OPINION AND ORDER

     This case comes before the Court on “Nicholas Del Rosso and

Vital   Management   Services,   Inc.’s    Motion   to   Quash   or   for   a

Protective Order” (Docket Entry 14) (the “Motion”).               For the

reasons that follow, the Court will deny the Motion.

                              BACKGROUND

     I. Procedural Background

     In early 2021, Karam Salah Al Din Awni Al Sadeq (“Al Sadeq”)

and Stokoe Partnership Solicitors (“Stokoe” and, collectively with

Al Sadeq, the “Applicants”) moved, “pursuant to 28 U.S.C. § 1782

and Federal Rules of Civil Procedure 26 and 45” (Docket Entry 1

(the “Application”) at 1),1 for leave to serve two subpoenas on

Nicholas Del Rosso (“Del Rosso”) (Docket Entry 3-1 at 2) and Vital

Management Services Inc. (“Vital Management” and, collectively with

Del Rosso, the “Movants”) (Docket Entry 3-2 at 2) in connection

with ongoing litigation in the United Kingdom (at times, the “UK”).



     1 Citations herein to Docket Entry pages utilize the CM/ECF
footer’s pagination. Quotations in this Memorandum Opinion use
standardized capitalization, but retain any British spelling and
punctuation.




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(See Docket Entry 1 at 1-6.)2           Finding that Applicants satisfied

Section 1782’s mandatory and discretionary factors, the Court (per

the   undersigned     United   States       Magistrate   Judge)   granted   the

Application, without prejudice to Movants’ right to contest the

subpoenas.    (See Docket Entry 7 (the “Order”) at 1-42.)3

      In lieu of objecting to the Order, Movants moved to quash or

modify the subpoenas.      (See Docket Entries dated Oct. 18, 2021, to

present.)    In particular, Movants assert that (i) the undersigned

Magistrate    Judge   lacked   authority       to   grant   the   Application,

(ii) “Applicants improperly filed a joint application arising from

separate lawsuits” (Docket Entry 14 at 2), (iii) “the requested

discovery is not ‘for use’ in proceedings pending in England and is

unduly burdensome” (id. at 1), and, alternatively, (iv) the Court

should narrow the subpoenas.       (See id. at 1-2.)        In support of the

Motion, Movants filed the “Amended Particulars of Claim” in Karam

Salah Al Din Awni Al Sadeq v. Dechert, LLP, Neil Gerrard, David

Hughes, and Caroline Black, Claim No. QB-2020-000322 (Docket Entry

16-1 (the “Amended Al Sadeq Claim”) at 2) and the “Re-Amended

Particulars of Claim” in Stokoe Partnership Solicitors v. Mr


     2 Applicants assert that, “[u]pon information and belief, Del
Rosso is the owner and president of Vital Management.” (Docket
Entry 2 at 4 n.2; see also Docket Entry 4-4, ¶ 1 (Del Rosso witness
statement characterizing Del Rosso as “President and owner of Vital
Management”).)

     3 The Order also determined that the undersigned Magistrate
Judge could grant the Application and need not issue a
recommendation thereon. (See id. at 1 n.2.)

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Patrick Tristram Finucane Grayson, Grayson + Co Limited, Mr Stuart

Robert Page, Page Corporate Investigations Limited, Dechert LLP,

and Mr David Neil Gerrard, Claim No. QB-2020-002492 (Docket Entry

16-2 (the “Amended Grayson Claim”) at 2).           Applicants filed a

memorandum in opposition to the Motion (see Docket Entry 17),

supported by an affidavit from Paul Robinson (see Docket Entries 18

to 18-9), to which Movants replied (see Docket Entry 19).

     II. Factual Background

     A. Original Record

     As this Court previously explained (see Docket Entry 7 at 3-

29), the record reflects the following:

          According to Applicants:

          Haralambos Tsiattalou (“Tsiattalou”), “a partner at
     [Stokoe, a] UK-based law firm,” serves as Al Sadeq’s
     lawyer “in civil proceedings pending in the High Court of
     Justice of England and Wales, Queen’s Bench Division
     captioned Karam Salah Al Din Awni Al Sadeq v. Dechert,
     LLP, Neil Gerrard, David Hughes, and Caroline Black,
     Claim No. QB-2020-000322 (the ‘Al Sadeq Litigation[’)].”
     (Docket Entry 4 [(the “Tsiattalou Declaration”)], ¶ 1.)
     In turn, Stokoe “is the Claimant in civil proceedings
     pending in the High Court of Justice of England and
     Wales, Queen’s Bench Division captioned:           Stokoe
     Partnership Solicitors v. Mr. Patrick Tristram Finucane
     Grayson, Grayson + Co Limited, Mr. Stuart Robert Page,
     and Page Corporate Investigations Limited, Claim No.[]
     QB-2020-002492   (the   ‘Grayson   Proceeding[,]’”    and
     collectively with the Al Sadeq Litigation, the “Foreign
     Proceedings”). (Id.) “Stokoe was also the claimant in
     concluded High Court proceedings captioned:        Stokoe
     Partnership Solicitors v. Mr. Paul Robinson, Company
     Documents Limited, and Mr. Oliver Moon, Claim No.
     QB-2020-002218    (the   ‘Robinson   Proceeding[,’    and
     collectively] with the Grayson Proceeding[,] . . . the
     ‘Hacking Claims’).” (Id.)


                                   3




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          The Al Sadeq Litigation concerns alleged violations
     of international and United Arab Emirates (the “UAE”)
     law, as well as of Al Sadeq’s human rights, committed “by
     Neil Gerrard (‘Gerrard’), a solicitor and partner in
     Dechert UK [(‘Dechert’)], and [two other current or
     former Dechert partners, David Hughes (‘Hughes’) and
     Caroline Black (‘Black’) (collectively with Dechert and
     Gerrard, the ‘Dechert Defendants’),] in connection with
     their investigation of fraud allegedly perpetrated
     against the RAK Investment Authority ([the] ‘RAKIA’)”
     (id., ¶ 4).     (See id., ¶ 2, 4.)4      Al Sadeq denies
     involvement in the alleged fraud and “maintains that the
     charges against him were politically motivated . . . and
     that he was convicted on the basis of false confessions
     obtained from him under duress by [Dechert] Defendants.”
     (Docket Entry 4-1, ¶ 1.)

          Al Sadeq served as legal adviser, Group Legal
     Director, and, ultimately, Deputy Chief Executive Officer
     of RAKIA between 2008 and 2012. (Id., ¶ 35.) In this
     capacity, he worked with Dr. Khater Massaad (“Dr.
     Massaad”) (see id.), RAKIA’s former Chief Executive
     Officer (the “CEO”) (see id., ¶ 8), and also “had regular
     interactions with,” and was well known to (id., ¶ 36),
     Sheikh Saud Bin Saqr Al-Qasimi, who, beginning in 2003,
     held the title of “Crown Prince and Deputy Ruler of RAK”
     (id., ¶ 12; see also id., ¶ 19 (discussing timing of that
     appointment)), before, “in October 2010, . . .
     succeed[ing] his father as Emir of RAK” (id., ¶ 22).5
     From at least 2003 until 2010, “Dr Massaad was the
     Ruler’s close friend and confidant, in his presence on a
     daily, or almost daily, basis.” (Id., ¶ 12.)

          In 2005, “RAKIA was established” (id., ¶ 14), and,
     from that time until approximately 2012, Dr. Massaad
     served as RAKIA’s CEO, controlling the “day to day
     management   of  RAKIA”    and  “developing    investment
     strategies and taking investment decisions with the
     knowledge, approval, and instructions of the Ruler” (id.,


     4 “‘RAK’ signifies Ras Al Khaimah, ‘one of the constituent
Emirates of the UAE’ (Docket Entry 2 at 5).   (See id. at 6.)”
(Docket Entry 7 at 4 n.4.)

     5 “Despite the change in title during the relevant period,
for ease of reference, this Memorandum Opinion refers to the above-
referenced individual as ‘the Ruler.’” (Docket Entry 7 at 5 n.5.)

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    ¶ 15).    “[B]y around 2010 RAKIA had, with the full
    knowledge and approval of the Ruler, very significant
    investment interests outside RAK, particularly in Georgia
    . . . .” (Id., ¶ 17.) For various political, familial,
    and economic reasons beginning around 2008, the Ruler
    directed that RAKIA should “divest itself of its foreign
    investments” (id., ¶ 21), a sudden change in investment
    policy that adversely affected the return on certain
    RAKIA investments (see id.), after which a rift developed
    between the Ruler and Dr. Massaad. (See id., ¶¶ 15-25.)

         Dr. Massaad “left RAK in around June 2012, on good
    terms and without any suggestion of wrongdoing,” and
    “returned to the UAE on several occasions thereafter
    until August 2014, including for meetings with the
    Ruler.” (Id., ¶ 25.) However, in approximately 2014,
    the Ruler learned that one of his brothers, Sheikh
    Faisal, whom the Ruler had denied appointment as Crown
    Prince following the Ruler’s succession in October 2010
    (id., ¶ 23), “causing animosity between them” (id.,
    ¶ 26), served as an investor in a business that Dr.
    Massaad founded in Lebanon in 2012. (See id., ¶¶ 26-27.)
    “As a result, the Ruler became concerned that Dr Massaad
    was working with Sheikh Faisal and / or Sheikh Khaled[6]
    in order to destabilise the Ruler, and that Sheikh Faisal
    and / or Sheikh Khaled were plotting to remove the Ruler
    with the assistance of Abu Dhabi” (id., ¶ 27), “the most
    powerful of the Emirates” (id., ¶ 20).

             In particular:

            Since finding out about Dr Massaad’s business
       relationship with Sheikh Faisal in 2014 and
       following on from the fall-out between Dr Massaad
       and the Ruler, and the Ruler’s concerns about Dr
       Massaad’s involvement in suspected moves to oust
       him by Sheikh Khaled and Sheikh Faisal, the Ruler
       with the assistance of [Dechert] Defendants has
       pursued a vendetta against Dr Massaad and alleged


     6 “‘Sheikh Khaled was the Crown Prince and Deputy Ruler [of
RAK] between around 1958 until around June 2003 when the [Ruler’s
father] removed [Sheikh Khaled] and replaced him with the Ruler.
This was an unpopular move in some quarters leading to street
protests in favour of Sheikh Khaled in RAK, and he retained
significant support in the Emirate to succeed the [Ruler’s
father].’ (Id., ¶ 19.)” (Docket Entry 7 at 6 n.6.)

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       co-conspirators such as . . . [Gela] Mikadze[ (at
       times, “Mikadze”)7] and [Farhad] Azima [(“Azima”)8]
       (including by recent proceedings in the English
       High Court [(the “Azima Litigation”)9]).

            The background set out above . . . is the
       context in which wrongs have been committed against
       [Al Sadeq] who has become collateral damage in the
       vendetta pursued by the Ruler against Dr Massaad,
       against whom RAKIA allegedly seeks to recover over
       USD 2 billion. The Ruler’s motive in pursuing his
       vendetta is both to punish Dr Massaad for his
       supposed disloyalty by destroying his reputation
       and discrediting him, and also to attempt to
       conceal the Ruler’s own personal knowledge and
       direction of RAKIA’s foreign investments for his
       own personal and political benefit in the years
       before his accession.    In this regard, it is a
       matter of public record that Mr Gerrard was
       appointed by the Ruler in order to investigate and
       pursue Dr Massaad; and Mr Al Sadeq and his wife
       were told both by Mr Gerrard and Mr Hughes that the
       “Big   Bastard”  Dr   Massaad,   and  his   alleged
       co-conspirators, were the people they were really
       after, and that they merely wanted Mr Al Sadeq’s
       “cooperation” to help them build that case.
       Despite several criminal sentences having been


     7 “Mikadze formerly served as ‘General Manager of RAKIA’s
Georgia operations.’ (Id., ¶ 9.5.)” (Docket Entry 7 at 6 n.7.)

     8 “‘[A] US-Iranian businessman,’ Azima ‘had dealings with
RAKIA’ (id., ¶ 9.5) and has engaged in litigation with RAKIA in the
UK courts (see id., ¶ 62).” (Docket Entry 7 at 6 n.8.)

     9   “In the Azima Litigation, RAKIA sued Azima for alleged
fraudulent misrepresentation, conspiracy, and breach of warranty
(see, e.g., Docket Entry 4-2, ¶¶ 5-10), relating in part to an
allegedly sham referral agreement connected to the sale of a
Georgian hotel, the creation of which involved Al Sadeq (see, e.g.,
id., ¶¶ 168-181.6).    In response, Azima ‘contend[ed] that the
claims should be struck out or dismissed on the ground that, in
bringing the claims, RAKIA [wa]s relying on confidential emails
that RAKIA obtained through its unlawful hacking of his email
accounts.’ (Id., ¶ 10.) Azima also ‘counterclaim[ed] for damages
resulting from what he allege[d] was RAKIA’s hacking of his
emails.’ (Id.)” (Docket Entry 7 at 7 n.9.)

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   pronounced against Dr Massaad by the RAK courts in
   absentia, Dr Massaad maintains his innocence and
   presently lives and works in Saudi Arabia, an
   Interpol notice which had been lodged against him
   by RAK now having been removed, and an extradition
   request from RAK having been dismissed by the Saudi
   court.

(Id., ¶¶ 28-29 (internal paragraph numbering omitted).)

     “RAK is regarded by international observers as
having a record of human rights abuses including
arbitrary detention, forced confessions, unfair trials,
and mistreatment in detention.” (Id., ¶ 30.) Per the
“Particulars of Claim” in the Al Sadeq Litigation (id. at
2) (at times, the “Al Sadeq Claim”):

   Al Sadeq’s treatment follows a similar pattern to
   the examples [of human rights violations specified
   in a 2014 Amnesty International report detailed in
   the Al Sadeq Claim] in that, inter alia, he was
   kidnapped, arbitrarily detained for over five
   years, subjected to torture and inhumane treatment
   while incarcerated in solitary confinement for
   around   560   days,   denied   access   to   legal
   representation, only occasionally allowed to see
   his family, his family was denied information about
   his whereabouts at all material times until April
   2016, his family was threatened and he was forced
   to sign false confessions under duress which were
   used in order to convict him and to implicate
   others including Dr Massaad. [Dechert] Defendants
   were aware of the abuse to which Mr Al Sadeq was
   subjected, which [as] pleaded [in the Al Sadeq
   Claim] was orchestrated by Mr Gerrard with the
   assistance of the other [Dechert] Defendants, at
   the behest of the Ruler.

(Id., ¶ 33.)

     “In   summary,”   according to           the  Tsiattalou
Declaration, the Al Sadeq Claim              alleges Dechert
Defendants’ involvement in:

   a. The kidnap and extraordinary rendition of Mr. Al
   Sadeq from Dubai to RAK (see paragraphs 40 to 47 of
   the Al Sadeq Claim);


                               7




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   b. Mr. Al Sadeq’s unlawful detention without arrest
   or charge, including a period of detention in
   solitary confinement, under a false name, with no
   access to legal representation (see paragraphs 105
   to 109 of the Al Sadeq Claim);

   c. The interrogation of Mr. Al Sadeq.            In
   particular, Mr. Al Sadeq contends that during the
   first of his interrogations by Mr. Gerrard, he was
   blindfolded with his hands tied behind his back and
   had no lawyer present (see paragraph 64 of the Al
   Sadeq Claim);

   d. Threats and unlawful pressure made to Mr. Al
   Sadeq, his wife, and children, including a promise
   by Mr. Gerrard and Ms. Black that Mr. Al Sadeq’s
   prison   conditions  could   be  improved   if   he
   “cooperated” with them (see paragraphs 65 to 67, 89
   to 98, and 120 to 130 of the Al Sadeq Claim);

   and

   e. The procurement of false confessions signed by
   Mr. Al Sadeq, but drafted by Mr. Gerrard and Mr.
   Hughes, in circumstances where Mr. Al Sadeq was
   detained in the above conditions, did not have
   access to legal representation, and had made it
   clear that the confessions were untrue (see
   paragraphs 183 to 184 of the Al Sadeq Claim).

(Docket Entry 4, ¶ 5.)

     Given the “extremely serious nature” of Al Sadeq’s
allegations “against senior lawyers and a global law firm
of international repute[,] . . . . the Al Sadeq
Litigation has generated a significant degree of
publicity in the UK.” (Id., ¶ 6.)

     “Stokoe was first retained to act in the Al Sadeq
Litigation in October 2019. Since that time, there has
been a correlation between the progress of the Al Sadeq
Litigation   and   attempts  to   obtain   confidential
information from Stokoe and others in relation to those
proceedings.” (Id., ¶ 7.) On January 28, 2020, “[t]he
Claim Form in the Al Sadeq Litigation was issued” and,
although Stokoe did not serve it at that time, its
“allegations were made public in a press release
published by Detained in Dubai on the date of issue.”

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     (Id., ¶ 8.)10 “The Claim Form, which was made available
     online, was much more detailed than the amended version
     ultimately served with the Particulars of Claim and
     contained details of Mr. Al Sadeq’s claim and the nature
     of the allegations made against the Al Sadeq Litigation
     defendants.” (Id.)11 The Claim Form also disclosed that
     “Stokoe was acting on behalf of Mr. Al Sadeq.” (Id.)

          In February and March 2020, Tsiattalou and other
     members of “Al Sadeq’s Legal and Support Team” (id.,
     ¶ 3)12 traveled to Dubai to meet with Al Sadeq’s local
     counsel and Al Sadeq, although they ultimately did not
     receive permission to visit Al Sadeq (who remained
     incarcerated in the RAK Central Prison as of March 31,
     2020 (see Docket Entry 4-1, ¶ 214; see also id. at 65)).
     (Docket Entry 4, ¶ 10.) During these trips, Tsiattalou
     and other members of Al Sadeq’s Legal and Support Team

       were the subject of surveillance activities,
       including an apparent break-in to [Tsiattalou’s]
       hotel room, the presence of surveillance agents at
       [Tsiattalou’s] hotel (where [Tsiattalou] attended
       privileged meetings in relation to the conduct of
       the Al Sadeq Litigation), and an attempt to follow
       [Tsiattalou] to a privileged meeting at a different
       location.   [Tsiattalou] believe[s] these matters
       were also connected to the Al Sadeq [L]itigation
       and that they were intended to disrupt [his]
       ability to obtain instructions (as they in fact
       did).



     10 “An employee of ‘the London-based human rights advocacy
organization “Detained in Dubai,”’ Radha Stirling, has assisted Al
Sadeq. (Id., ¶ 14.)” (Docket Entry 7 at 9 n.10.)

     11 “‘Al Sadeq’s Amended Claim Form and Particulars of Claim
were served on March 31, 2020 and April 1, 2020.’ (Id., ¶ 9.) The
Amended Claim Form details ‘various ways’ that Stokoe’s ‘ability to
take instructions from Mr. Al Sadeq has been impeded . . . since
the Al Sadeq Litigation was issued.’ (Id.)” (Docket Entry 7 at 10
n.11.)

     12 “Stokoe, 4 Stone Buildings (another UK law firm), Detained
in Dubai, and Maltin Litigation Support Group collectively comprise
‘Al Sadeq’s Legal and Support Team.’ (Id.)” (Docket Entry 7 at 10
n.12.)

                                   9




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     (Id.; see also Docket Entry 4-1, ¶¶ 215-215.10 (detailing
     surveillance and interference allegations).) During a
     visit in March 2020, Tsiattalou and his colleagues “were
     subject to intimidation and surveillance” and “an
     obviously frightened hotel employee” warned Tsiattalou:

        “You’re   being   followed/watched by   security
        services. They are very serious people.   Nobody
        can stand in their way.”

     (Docket Entry 4, ¶ 11.) Tsiattalou believes that Mr.
     Stuart   Page  (at   times,  “Page”),   who   Tsiattalou
     “personally witnessed” on March 6, 2020, “whilst staying
     at the One and Only on the Palm Hotel in Dubai” (id.,
     ¶ 21), and who admitted his presence at Tsiattalou’s
     Dubai hotel on that date, conducted this surveillance,
     along with other individuals. (Id., ¶ 12.)

          According to the opinion of Judge Lenon, “sitting as
     a Deputy Judge of the Chancery Division” (Docket Entry 4-
     2 (the “Azima Judgment”) at 2 (emphasis omitted)), issued
     in the Azima Litigation, “[i]n January 2015 Stuart Page,
     a private investigator, was engaged by the Ruler to
     investigate what the Ruler feared was a plot between a
     member of his family and Dr Massaad aimed at
     destabilising his rulership.” (Id., ¶ 31.)13

           The Azima Judgment further explained:

             In March 2015 Mr Page provided the Ruler with
        a report entitled RAK Project Update (“the Project
        Update”) which was mainly concerned with Dr
        Massaad’s activities but which also described how
        Mr Azima was managing a team of advisers in the US,
        hired by Dr Massaad, who were planning to spread
        allegations about human rights issues in RAK;[14]

     13 “‘Mr Page’s initial engagement in RAK was between 2008 and
2010 when he undertook surveillance work on the behalf of the Ruler
who was at the time the Crown Prince. His remit was to try to
ascertain through surveillance what plans Sheikh Khalid, the
Ruler’s brother, had to try to destabilise the Crown Prince’s
position.’ (Id., ¶ 260.)” (Docket Entry 7 at 12 n.13.)

     14 “These stories involved the alleged mistreatment of Al
Sadeq and his wife, including the involvement of Dechert and/or
Gerrard in Al Sadeq’s interrogations and detention. (See, e.g.,
                                                  (continued...)

                                   10




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       their campaign had not yet been made public. Mr
       Page’s agents who compiled the report said that
       they would be able to gather intelligence on the
       campaign team in order to monitor their progress
       and “attempt to contain or ruin their plans”.

            *****

            Neil Gerrard is a former policeman and a
       partner in the firm of Dechert LLP which was
       instructed to assist with the investigation into Dr
       Massaad’s alleged fraudulent activities which it
       has continued to work on to the present time. His
       witness statement dealt with his engagement by RAK,
       the meeting he had with Mr Azima in July 2016 and
       the   events   in    August 2016  surrounding   the
       downloading of [Azima’s] hacked material. He was
       cross-examined about his involvement with the
       questioning of detainees within RAK, in particular
       Karam Al Sadeq and Shahab Izadpanah. Allegations
       that Mr Gerrard had attempted, on behalf of RAK, to
       extort money from Mr Izadpanah and had offered Mr
       Izadpanah and Mr Al Sadeq to drop all charges
       against   them    if   they confessed  to   charges
       implicating Dr Massaad were put to Mr Gerrard who


     14(...continued)
Docket Entry 4-2, ¶¶ 197-201.8.)       According to Judge Lenon:

          In order to make good its case that Mr Azima
     procured and promoted false stories in the media, it was
     incumbent on RAKIA to establish that the stories which it
     was intended to publish about human rights violations
     were untrue.    It has not done so.      It appears that
     Project Clay[, which RAKIA described as “a coordinated
     programme designed to frustrate RAKIA’s attempts to
     pursue legal remedies against Dr Massaad by procuring and
     promoting the widespread publication of damaging false
     stories in the international media” (id., ¶ 198.1),]
     intended to draw attention to actual cases of detention
     and illegality, not fabricated cases. The 2014 Amnesty
     International Report indicates that there were real
     grounds for concern about detention procedures in RAK.
     None of RAKIA’s witnesses were in a position to refute
     the findings in that report.

(Id., ¶ 202.)”   (Docket Entry 7 at 12 n.14.)

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        denied them in forthright terms. On the basis of
        the material before [Judge Lenon, he was] not in a
        position to make any findings in relation to those
        allegations or other allegations of misconduct
        extraneous to the events in issue in these
        proceedings that were put to Mr Gerrard.[15]

             Counsel for Mr Azima submitted that Mr Gerrard
        gave dishonest evidence on key issues. He was also
        criticised for not referring to Mr Page and the
        Project Update in his witness statement. In [Judge
        Lenon’s] view, Mr Gerrard’s witness statement
        should have dealt with the Project Update which was
        a clearly relevant document and one which, as he
        accepted in cross-examination, was of concern to
        him when it was produced because it referred to the
        threat of a press campaign to smear RAK and its
        Ruler with human rights allegations. [Judge Lenon]
        do[es] not, however, regard the omission to deal
        with the Project Update, or the other criticisms
        made of his evidence, as leading to the conclusion
        that [Judge Lenon] should treat Mr Gerrard as
        dishonest.

             Stuart Page, also a former policeman and now
        the Chairman and majority shareholder of a business


     15 “Following entry of the Azima Judgement, and prompted by
the Al Sadeq Litigation, Gerrard disclosed that he provided false
testimony in the Azima Litigation regarding the nature and extent
of his interactions with Al Sadeq and his wife.      See generally
Azima, Docket Entry 22-2. As relevant here, Judge Lenon ‘agree[d]
with Mr Azima’s submission that the corrected evidence cumulatively
creates a materially different impression of the extent and nature
of Mr Gerrard’s dealings with Mr Al Sadeq.’ Id., Docket Entry 22-
2, ¶ 14. Judge Lenon further rejected ‘RAKIA’s submission that the
erroneous evidence goes to peripheral matters which were of no
relevance to the substantive issues. There was a pleaded issue on
RAKIA’s own case in the proceedings as to whether the stories about
human rights abuses and Dechert’s involvement in those abuses were
false . . . .’ Id., Docket Entry 22-2, ¶ 15 (citing Docket Entry
4-2, ¶¶ 197-198).    However, Judge Lenon declined to reopen the
Azima Judgment because, inter alia, he found that disclosure of
Gerrard’s false testimony and his subsequent revisions thereto did
not alter ‘[Judge Lenon’s] conclusions on any of the substantive
issues.’ Id., Docket Entry 22-2, ¶ 22.” (Docket Entry 7 at 13
n.15.)

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    providing security and surveillance services, dealt
    in his witness statement with his engagement in RAK
    to assist with the investigations into Dr Massaad
    and the discovery of the hacked material. Counsel
    for Mr Azima submitted that Mr Page was a dishonest
    witness who lied about a number of matters. [Judge
    Lenon]   consider[s]    that   Mr   Page   was   an
    unsatisfactory and unreliable witness. As set out
    in greater detail in the context of the [Azima]
    hacking claim, his witness statement was misleading
    in relation to two significant matters. First, his
    witness statement implied that he did not produce
    written reports for the Ruler on his investigations
    whereas in fact he did so on a regular basis.
    Second, his witness statement said that he first
    came across the name of Mr Azima in early 2016
    whereas . . . it was in fact a year earlier. His
    evidence in connection with the discovery of the
    hacked material was both internally inconsistent
    and at odds with the contemporary documents.
    [Judge Lenon] ha[s] concluded that it would be
    unsafe to rely on any evidence from Mr Page that
    was not corroborated by some other source.

         *****

          [Three referenced cases involving Page and
    illegally obtained information] highlight the fact
    that Mr Page operates in a world of covert
    surveillance in which agents acquire confidential
    information unlawfully and that Mr Page has
    dealings with such agents.        It would be a
    reasonable inference to draw from these incidents
    that Mr Page has access to agents with the capacity
    to hack emails. However these other incidents do
    not establish that Mr Page ever personally carried
    out or authorised the unlawful obtaining of
    confidential information and therefore do not
    affect [Judge Lenon’s] assessment of the inherent
    likelihood of Mr Page acting unlawfully in this
    case.    Mr Azima also relied on the level of Mr
    Page’s remuneration of between $100,000 and
    $300,000 per month as being “consistent with Mr
    Page obtaining information by illicit means and of
    seeking a premium for such nefarious activity.” Mr
    Page was certainly generously remunerated but



                               13




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        [Judge Lenon] do[es] not consider that his rate of
        remuneration can sensibly be taken as a sign of
        illicit activity.

     (Id., ¶¶ 32, 62-64, 369 (internal paragraph numbering
     omitted).)

          In the Azima Litigation, RAKIA maintained that Page
     innocently discovered websites containing Azima’s hacked
     emails, which Gerrard then enlisted Del Rosso to
     download, a task Del Rosso achieved with the help of
     Northern Technology Inc. (“NTi”).      (See, e.g., id.,
     ¶¶ 51-53, 336-343.11.)16 Judge Lenon “conclude[d] from
     the unexplained contradictions, inconsistences and
     implausible elements that RAKIA’s case that Mr Page
     discovered the blogging websites linked to the BitTorrent
     sites [containing Azima’s hacked data] innocently via [an
     Israeli journalist] and another unidentified informer is
     not true and that the true facts as to how RAKIA came to
     know about the hacked material have not been disclosed.”
     (Id., ¶ 355; see also id., ¶¶ 342-54 (examining evidence
     and assertions).) Per Judge Lenon, though, “[i]t does
     not of course necessarily follow from this conclusion
     that RAKIA was responsible for the hacking.”        (Id.,
     ¶ 356.)

           As to Azima’s hacking claim, Judge Lenon ultimately

        accept[ed] that the hypothesis advanced on behalf
        of Mr Azima that Mr Page, acting with the express
        or implied authority of the Ruler, arranged for Mr
        Azima’s emails to be hacked . . . and that it was
        decided to deploy the hacked material in August
        2016 once [a] ceasefire with Dr Massaad was over,


     16 “In support of this contention, RAKIA submitted a witness
statement from Del Rosso that attributes the discovery of all but
one batch of data to Page and the discovery of the final data batch
to an NTi employee. (See generally Docket Entry 4-4.) Del Rosso’s
witness statement further indicates that, in August 2014, Dechert
engaged Vital Management ‘to investigate assets potentially stolen
from the Government of [RAK]. Pursuant to its engagement[, Vital
Management] examined potential frauds committed by, amongst others,
[Dr.] Massaad.’ (Id., ¶ 4.) Del Rosso ‘took [his] instructions
from Dechert LLP, and had limited direct contact with Jamie
Buchanan and other representatives of the RAK government.’ (Id.)”
(Docket Entry 7 at 15 n.16.)

                                   14




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        is not impossible. It would provide an explanation
        for the fact that the hacked material came to light
        when it did and for RAKIA’s failure to provide a
        convincing account of its innocent discovery of the
        hacked material. It is equally not impossible that
        Mr Page arranged for Mr Azima’s emails to be hacked
        without the knowledge of Mr Gerrard or [James]
        Buchanan [(“Buchanan”)17] or the Ruler’s advisers so
        that the instigation of these proceedings did not
        entail a conspiracy between them, even though the
        witnesses may have harboured suspicions about Mr
        Page’s role.

             It is, however, not enough for Mr Azima to
        advance a case that is not impossible. Based on
        all of the documentary and witness evidence, [Judge
        Lenon] was not satisfied on the balance of
        probabilities that RAKIA was responsible for the
        hacking of Mr Azima’s emails. The facts supporting
        the inference that RAKIA was responsible for the
        hacking are far from conclusive and the improbable
        features of Mr Azima’s case can only be explained
        away on the basis of speculative assumptions for
        which there is no sufficiently firm evidence.

     (Id., ¶¶ 380-381 (internal paragraph numbering omitted).)
     Accordingly,   Judge   Lenon   denied   Azima’s   hacking
     counterclaim. (See id., ¶¶ 382-84.)




     17 “Buchanan served as a representative of RAK and the CEO of
Ras Al Khaimah Development LLC (see, e.g., Docket Entry 4-1, ¶ 143;
Docket Entry 4-4, ¶ 4), an entity ‘which holds and manages assets
and liability previously owned by [RAKIA], and is thus intimately
tied to the Al Sadeq Litigation’ (Docket Entry 6, ¶ 15). Per the
Azima Judgment:

     In around April 2015, the Ruler told Mr Buchanan that he
     wanted Mr Buchanan and other assistants to ‘target’ Mr
     Azima.    The Ruler directed his associates to bring
     charges against Mr Azima.       The Ruler’s associates
     discussed meeting to ‘coordinate our attack’ on Mr Azima
     and Dr Massaad but persuaded the Ruler not to pursue this
     plan at that time.

(Docket Entry 4-2, ¶ 33.)”     (Docket Entry 7 at 16 n.17.)

                                   15




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          On appeal, Azima sought to introduce new evidence
     relevant to his hacking claims.   As the UK appellate
     court explained:

        A tip-off from Thomson Reuters after the trial led
        Mr Azima to conclude that he had not been the only
        victim of spear-phishing[18] emails but that others
        who had been named in the Project Update had also
        been targets. Linked with the tip-off was a report
        by The Citizen Lab released on 9 June 2020 which
        claimed to have uncovered a “massive hack-for-hire
        operation” said to be linked to an Indian company
        called BellTrox.

             The information provided by Thomson Reuters
        consisted of email addresses (both recipients and
        senders) together with dates and times of sending,
        beginning in March 2015. The recipients included
        not only Mr Azima but also others who had been
        named in the Project Update.         Following the
        information provided by Thomson Reuters Mr Azima’s
        computer expert (who had given evidence at trial)
        produced a further report in which he said that
        certain features of the material demonstrated that
        these emails were spear-phishing emails.       This
        evidence was said to show that Mr Azima had been
        the target of phishing emails which began at the
        same time as the Project Update was provided to
        RAKIA:   that is to say in March 2015.      RAKIA’s
        computer expert (who had also given evidence at
        trial) made a number of sustained criticisms of
        that report. RAKIA also took the point that since
        one of the allegations at trial was that Mr Azima’s
        emails had been hacked because he was named in the
        Project Update, it would have been open to him to
        have asked the others also named in that report to
        allow access to their email accounts.       Indeed,



     18   “Tsiattalou explained that phishing and spear-phishing
communications ‘seek to trick the recipient into clicking on a link
to a website which itself contains malicious software which is
downloaded onto the recipient’s device. Spear-phishing is a more
sophisticated form of phishing where the communication contains
specific information, targeted at the recipient, which makes it
more likely that the recipient will click on the link.’ (Docket
Entry 4, ¶ 43.)” (Docket Entry 7 at 17 n.18.)

                                   16




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        RAKIA had applied for disclosure from at least
        three of those individuals, which Mr Azima refused.

             Mr Azima subsequently instructed Mr Rey, a
        security consultant based in Switzerland, to
        investigate. Mr Rey’s investigations into BellTrox
        led him to another Indian company called CyberRoot.
        He spoke to a Mr Vikash Kumar Pandey, a former
        employee of CyberRoot. Mr Pandey told him that he
        and four of his colleagues had worked on the hack
        of Mr Azima on the instructions of Mr Del Rosso
        (who had given evidence for RAKIA at trial,[19] but
        had not mentioned CyberRoot).      Mr Pandey began
        working on the hack in June or July 2015; that is
        to say some three to four months after the date of
        the Project Update.      Mr Pandey described the
        methods that he and his colleagues had used.
        CyberRoot’s efforts to hack Mr Azima’s emails were
        initially unsuccessful; but they gained access to
        them in March 2016.        He also described how
        CyberRoot had disseminated Mr Azima’s information
        on the internet. CyberRoot had been paid about $1
        million for this work.

             In response to this evidence Mr Del Rosso made
        another witness statement. He accepted that he had
        engaged CyberRoot to carry out work on RAKIA’s
        behalf; and had arranged the payment to CyberRoot
        of the $1 million. But he said that that was for
        different work which had nothing to do with Mr
        Azima.

             Whether RAKIA was involved in the hacking is
        hotly in dispute. Moreover, Mr Panday’s account of
        how the hacking began is at variance both with Mr
        Azima’s case and also with what the first tranche
        of fresh evidence is said to demonstrate.       His
        evidence is that CyberRoot only gained access to Mr
        Azima’s email accounts in March 2016, whereas Mr
        Azima’s case was that the hacking had taken place


     19 “In his witness statement in the Azima Litigation trial,
Del Rosso maintained that he ‘did not hack Mr Azima’s computers,
cause him to be hacked or know who hacked him. [Del Rosso] did not
upload his data to the internet, cause his data to be uploaded or
know who did upload his data.’ (Docket Entry 4-4, ¶ 20.)” (Docket
Entry 7 at 18 n.19.)

                                   17




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    many months earlier. If RAKIA had already obtained
    access to Mr Azima’s email accounts many months
    earlier, it is difficult to see why CyberRoot would
    have been instructed to replicate the hacking.
    Nevertheless, if Mr Panday’s account is true, it
    seems to [the appellate court] that it will support
    Mr Azima’s allegation that RAKIA was responsible
    for the hacking (although not the way in which it
    was put at trial); and that RAKIA’s defence to the
    counterclaim was dishonestly advanced. That will
    in [the appellate court’s] judgment require a
    complete re-evaluation of the evidence in support
    of the hacking claim.

 Azima v. Del Rosso, No. 1:20cv954, Docket Entry 49-1,
 ¶¶ 130-34 (M.D.N.C. Mar. 12, 2021) (internal paragraph
 numbering omitted); see also id., ¶ 134 (describing
 “judgment for RAKIA on [Azima’s hacking] counterclaim” as
 “procured by fraud”)).

      Accordingly, on March 12, 2021, see id., Docket
 Entry 49-1 at 1, the UK appellate court remanded Azima’s
 hacking counterclaim for retrial before a different
 chancery judge, noting as it did so that “neither the
 parties nor the judge who hears the remitted issues will
 be bound by any of the findings of fact made by the
 [original] judge on the hacking [counter]claim,” id.,
 Docket Entry 49-1, ¶ 146. See id., Docket Entry 49-1,
 ¶¶ 145-46. The appellate court further noted that, on
 remand, “it would be necessary” for Del Rosso to testify.
 Id., Docket Entry 49-1, ¶ 143.

       Against this backdrop, Tsiattalou avers:

         In   late   March   2020,   Mr.   Oliver   Moon
    [(“Moon”)],    a   private   investigator,    turned
    whistleblower,   informed   Mr.   Alexander   Sawyer
    [(“Sawyer”)] (who works in corporate intelligence
    via a company called Quaestio), that he had been
    instructed by a “Source A2”, as he was described in
    the Robinson Proceeding (and who was later revealed
    to be a Mr. John Gunning[ (“Gunning”)]), to make
    attempts to gain access to Stokoe’s confidential
    information.       These   instructions    continued
    throughout April 2020 and included hacking Stokoe’s
    bank accounts, including its client account.      It
    was subsequently discovered that Source A2’s
    instructions had in turn derived from a Mr. Paul

                               18




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       Robinson[     (“Robinson”)],        another      private
       investigator.

     (Docket Entry 4, ¶ 13.)20      The Tsiattalou Declaration
     continues:

            As he has since confirmed in an affidavit, Mr.
       Moon was also instructed to procure confidential
       information — including accessing their bank
       accounts — about others assisting Mr. Al Sadeq,
       namely, Maltin Litigation Support Group[, a legal
       public relations firm whose employee traveled to
       Dubai with Tsiattalou in March 2020 (id., ¶ 11),
       and Radha Stirling (at times, “Stirling”) of
       Detained in Dubai]. The timing and coordination of
       this hacking demonstrates that it is designed to
       interfere with the Al Sadeq Litigation, and to
       undermine   the   sanctity   of  the   confidential
       relationship between solicitor and client.      For
       instance, just after the claim form and Particulars
       of Claim were served in the Al Sadeq Litigation and
       a couple of weeks before Dechert’s solicitors made
       enquiries of Stokoe as to who was funding that
       litigation, Mr. Moon was instructed to obtain
       Stokoe’s banking co-ordinates.

            On April 21, 2020, Mr. Gunning was instructed
       to ascertain [Tsiattalou’s] movements “in and out
       of Dubai — for Feb 2020.”     As mentioned above,
       [Tsiattalou] was in Dubai in February 2020
       obtaining instructions in relation to the Al Sadeq
       Litigation, and became aware that [he] was the
       subject of surveillance and an unlawful break in.

     (Id., ¶¶ 14-15 (internal paragraph numbering omitted).)

          In Tsiattalou’s view, “[t]here can be no doubt that
     the attempted hacking of Stokoe was motivated by, and
     relates to, its retainer by Mr. Al Sadeq.” (Id., ¶ 16.)
     Tsiattalou further avers:

       As mentioned above, in late March 2020, Mr. Moon
       informed Mr. Sawyer of Quaestio that he had been


     20 “Sawyer had previously engaged Moon to conduct work on
Stokoe’s behalf, which presumably motivated Moon to disclose this
situation to Sawyer. (Id.)” (Docket Entry 7 at 20 n.20.)

                                  19




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    instructed to obtain confidential information from
    Stokoe. Mr. Moon agreed to work with Stoke [sic]
    and Mr. Sawyer to establish the nature and origin
    of the requests.

         [Tsiattalou] was informed by Quaestio (and Mr.
    Moon has in an affidavit dated July 2, 2020
    confirmed) that, pursuant to the arrangement, Mr.
    Moon received the following instructions from
    “Source A2” (an individual Stokoe eventually
    identified as [Gunning]):

       a. On April 2, 2020, Mr Moon was instructed to
       obtain, amongst other things, the Stokoe’s
       banking coordinates.

       b. On April 9, 2020, Mr. Moon was instructed
       to access Stokoe’s trading bank account and
       transactional data for the business bank
       account for the last three months.       This
       period broadly coincides with the period that
       had elapsed since the issue of the Claim Form
       in the Al Sadeq Litigation.

       c. On April 21, 2020, Mr. Moon was instructed
       to    provide    information   relating    to
       [Tsiattalou’s] movements in and out of Dubai
       in February 2020.       This period broadly
       coincides with the period that [Tsiattalou]
       attempted to visit Mr. Al Sadeq in the [UAE].
       As . . . detailed above, when [Tsiattalou]
       visited Dubai during this time, [he] was
       subjected to covert surveillance.

       d. On April 22, 2020, Mr. Moon was instructed
       to provide information relating to Stokoe’s
       client   account,   including   transactional
       information for the month of March 2020. Mr.
       Moon was told that it was likely information
       would also be sought for the period November
       2019 to February 2020, a period overlapping
       almost exactly with the period of Mr. Al
       Sadeq’s retainment of Stokoe.

         Mr. Sawyer liaised with Stokoe to provide Mr.
    Moon with Stokoe’s bank account documents in a
    format which allowed covert tracking, to identify
    the recipients of those documents.    In this way,

                               20




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        Quaestio established that Mr. Moon was instructed
        by [Gunning], who was in tu[rn] instructed by
        [Robinson]. Quaestio’s findings are set out in a
        report, dated June 27, 2020, which is annexed [to
        the   Tsiattalou   Declaration   (“the   Quaestio
        Report”)21].

             Based on this information, Stokoe initiated
        the Robinson Proceeding in the High Court of
        Justice of England and Wales, Queen’s Bench
        Division seeking, inter alia, to enjoin, and to
        obtain affidavits from, Mr. Moon, Mr. Gunning, and
        Mr. Robinson. . . .

             Proceedings against Mr. Robinson were stayed
        by a consent order sealed by Justice Chamberlain,
        (the “Chamberlain Order”). . . . Pursuant to the
        Chamberlain Order, Mr. Robinson undertook to “swear
        an affidavit stating on oath . . . the identity of
        any person who has requested” that he “obtain
        Confidential Information from” Stokoe.          Mr.
        Robinson swore an affidavit wherein he stated that
        Mr. Patrick Grayson was the source of these
        instructions. . . .

             By letter dated November 30, 2020, Mr. Page’s
        attorney, Stephenson Harwood, sent a letter to
        Stokoe with invoices for the corporate research
        undertaken by Company Documents Limited, Mr.
        Robinson’s company, on behalf of Page Corporate
        Investigations Limited (London) and Page Group ME
        JLT (Dubai). One of the invoices from March 19,
        2020, showed that the subject of an investigation
        was the Brendale Group, a group of companies
        associated to Mr. David Haigh who has been closely
        associated to Radha Stirling and who are both named
        in   a   press   release   attributing   to   their
        associations and linked companies. Another invoice
        from October 4, 2017, shows that a group of
        companies that were involved in RAKIA’s case


     21 “As relevant here, the Quaestio Report indicates that, ‘in
addition to requests relating to Stokoe, a number of other targets
have been identified by Mr Robinson including: Maltin PR, Mr Tim
Maltin and, to lesser extent, Hogan Lovells International LLP,
[Azima], and [Stirling].’ (Docket Entry 4-8, ¶ 3.)” (Docket Entry
7 at 22 n.21.)

                                   21




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    against Mr. Mikadze were the subject of an
    investigation   by  Mr.   Robinson’s  company   as
    instructed by Mr. Page.       The companies under
    investigation were all connected to Gela Mikadze
    who was another individual investigated by Gerrard
    and RAKIA in connection with Dr. Massaad.

         Stokoe therefore brought further proceedings
    against Mr. Grayson (amongst others) by Claim Form
    dated July 16, 2020. . . . Those proceedings were
    brought, inter alia, to compel Mr. Grayson and Mr.
    Grayson’s associated company, Grayson + Co Ltd, to
    reveal the source of their instructions, any
    further wrongdoing, and to obtain injunctive relief
    to prevent them from further wrongdoing.

         The application against Mr. Grayson and
    Grayson + Co Ltd resulted in a consent order made
    by Justice Tipples, (the “Tipples Order”). . . .
    Pursuant to the Tipples Order, Mr. Grayson and
    Grayson[ ]+ Co Ltd undertook to “swear an affidavit
    stating on oath . . . the identity of any person
    who has requested that he “obtain Confidential
    Information from” Stokoe.

         Mr.   Grayson’s   affidavit  (the  “Grayson
    Affidavit”) was notably brief.   He stated that:
    “Nobody requested me to obtain Confidential
    Information from or pertaining to [Stokoe],
    directly or indirectly.”

 (Id., ¶¶ 33-41 (heading, citations, internal paragraph
 numbering, and certain parentheticals omitted) (certain
 ellipses and brackets in original).)       The Grayson
 Affidavit further states that Grayson “never asked Mr
 Robinson to obtain Confidential Information relating to
 [Stokoe].” (Docket Entry 4-15, ¶ 5.)

      However, approximately eight months after submitting
 the   Grayson   Affidavit,   Grayson   provided   further
 information in the Grayson Proceeding that undermine the
 assertions in his affidavit.     In particular, Grayson
 admitted that, on January 30, 2020, he informed “Robinson
 that he would be interested in any general information as
 to how Mr Al Sadeq was funding the Al Sadeq
 [L]itigation,” although he maintains that, during this
 conversation, he “did not ask Mr Robinson to obtain
 confidential information about [Stokoe].” (Docket Entry

                               22




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     6-3 at 3-4.) Grayson also acknowledged that, around the
     beginning of April 2020, he asked Robinson if “it was
     still possible to find out in Dubai if an individual had
     entered or left Dubai” and that, in response to
     Robinson’s query whether “Grayson was interested in the
     travels of anyone in particular,” he “mentioned Mr
     Tsiattalou, the senior partner of [Stokoe], as a
     potential person of interest” and subsequently sent
     Robinson an email containing Tsiattalou’s identifying
     information. (Id. at 4.)22

          Grayson further admitted that his “interest in how
     Mr Al Sadeq might be funding his litigation was prompted
     by a general question raised with him in a telephone call
     on or shortly after 28 January 2020 with Mr Nicholas del
     Rosso of Vital Management,” with whom Grayson “had a
     general consulting arrangement . . . (which was not
     contained in any written agreement) to provide general
     business intelligence services and advice.” (Id. at 5;
     see also Docket Entry 6-4 (containing three-year
     nondisclosure agreement, dated August 30, 2018, between
     Vital Management and Grayson).)          Thereafter, in
     approximately “late March/early April 2020,” Grayson and
     Del Rosso had another telephone conversation in which Del
     Rosso asked “whether it was possible to find out if
     someone had travelled into and out of Dubai” and, in
     response to Grayson’s query whether “[D]el Rosso was
     potentially interested in the movements of anyone in
     particular,” he “named Mr Tsiattalou and said he was the
     senior partner at [Stokoe].     Shortly after and as a
     result of that request, Mr Grayson had the conversation
     with Mr Robinson in or around the beginning of April
     2020” described above. (Docket Entry 6-3 at 5.)

          In addition, on March 22, 2021, Page disclosed in
     the Grayson Proceeding a letter, “dated September 16,
     2020, from Allen & Overy LLP (a firm representing the
     Ruler and Government of [RAK]) to Stephenson Harwood LLP
     (the firm representing defendant Page in the Grayson


     22 “Nevertheless, Grayson maintains that he ‘did not provide
any instruction to Mr Robinson to investigate Mr Tsiattalou or his
movements; nor did he ask Mr Robinson to obtain confidential
information about [Stokoe] or to obtain information unlawfully,’
and he also ‘never asked Mr Robinson to provide information about
when Mr Tsiattalou entered or left Dubai.’ (Id.)” (Docket Entry
7 at 24 n.22.)

                                   23




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 Proceeding), wherein a number of statements purportedly
 made by defendant Page are referenced.” (Docket Entry 6,
 ¶ 15.) As relevant here, the letter states:

    1.   We understand from Mr Jamie Buchanan that your
         client, Mr Stuart Page, has made a number of
         statements in communications that he had with
         Mr Buchanan in August and September 2020 that
         appear to refer to our clients, the Ruler and
         the Government of [RAK].

         *****

    3.   Our clients are concerned to understand what
         information your client intended to relay by
         his statements to Mr Buchanan. In particular,
         we should be grateful if your client would
         provide us with his explanation for the
         following statements:

            (a)   your client referred to English
                  High Court proceedings that
                  have been commenced against him
                  by     Stokoe     Partnership
                  Solicitors and said: “if I have
                  to implicate Nick / Patrick,
                  Decherts, Neil and the boss to
                  get me out of this I will.” We
                  understand that your client’s
                  reference to “the boss” is
                  intended to be a reference to
                  the Ruler.

                  Please can your client explain
                  what information, facts or
                  evidence your client had in
                  mind and how he believes this
                  implicates or otherwise relates
                  to the Ruler.

                  *****

            (c)   your client said: “what with
                  the boss refusing to cover my
                  costs I wish quite frankly I
                  took the ENRC offer”.

                  *****

                               24




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            (e)     your client made a number of
                    statements as to his intended
                    future conduct including:

                    *****

            (ii)            “regrettably      Jamie I
                            would have to say you
                            know Nick and Patrick and
                            that Nick was retained
                            long   before    me   and
                            reported to at least in
                            part to Neil.”; and

            (iii)           “I will stand my ground
                            if I am supported I will
                            not if I am quite frankly
                            treated this way”.

       Please can you [sic] client confirm whether
       any of the above statements were intended to
       relate to the Ruler or the Government of
       [RAK]; and, if ‘yes’, please can your client
       explain what his intended actions were/are in
       respect of each relevant statement.

    4. We note that some of your client’s messages to
    Mr Buchanan appear to refer to our communications
    in respect of your client’s request that our
    clients fund his legal costs. As we have discussed
    previously (e.g. in the telephone calls between Mr
    Francis of our office and Mr Fordham of your office
    on 15 and 17 July 2020): our clients rejected your
    client’s   request   and  noted   that  the   legal
    proceedings against your client have nothing to do
    with our clients; and, your client has confirmed
    that he has never been instructed by our clients to
    do any work in relation to Karam Al Sadeq, nor his
    lawyers, nor the proceedings that have been brought
    against Neil Gerrard and Dechert (amongst others).

 (Docket Entry 6-6 at 2-3 (emphasis in original).)

       Finally, Tsiattalou avers:

    Since the issue of proceedings in the Al Sadeq
    Litigation,   [Tsiattalou],   along  with   others
    involved in the Al Sadeq Litigation, have received

                                  25




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    numerous emails and text messages which appear to
    be targeted attempts to access personal data.
    [Tsiattalou] believe[s] that these attempts amount
    to phishing or spear-phishing; i.e. communications
    which seek to trick the recipient into clicking on
    a link to a website which itself contains malicious
    software which is downloaded onto the recipient’s
    device.   Spear-phishing is a more sophisticated
    form of phishing where the communication contains
    specific information, targeted at the recipient,
    which makes it more likely that the recipient will
    click on the link.

          In particular, Stirling, who has published
    articles about the Al Sadeq Litigation and has
    aided Mr. Al Sadeq in raising awareness amongst
    human    rights   activists   and   non-governmental
    organizations about his case, received a phishing
    email from a Google Inc. (“Google”) account,
    dutrouxjustine@gmail.com. That same email address
    sent a phishing email containing Android Package
    files (“APK files”) to Detained in Dubai.         An
    analysis conducted of those APK files showed that
    the APKs communicated with a number of Ngrok server
    addresses.     Stirling was also the subject of
    approximately four (4) phishing attempts using
    content hosted on Dropbox Inc. (“Dropbox”) sent to
    her     email    address    radha@radhastirling.com.
    Approximately twenty-six (26) phishing attempts
    were sent to the email addresses of [certain
    lawyers involved in the Al Sadeq Litigation] and
    Stirling from domains hosted by Cloudflare Inc.
    (“Cloudflare”).      In addition, Google Firebase
    accounts were used in approximately twenty (20)
    phishing attempts targeting the email accounts of
    [those lawyers], Stirling, and Tim Maltin, of
    Maltin Litigation Support Group.     It is believed
    that these hacking attempts were perpetuated by
    individuals associated with the defendants in the
    Al Sadeq Litigation as part of an attempt to
    interfere     with     Mr.    Al    Sadeq’s    legal
    representation.

         At approximately 5:45 a.m. on November 5,
    2020, just days before a hearing in the High Court
    was   scheduled   in  the  Robinson   and  Grayson
    Proceedings,    hackers   broke    into   Stokoe’s
    cloud-based IT system which the firm uses to

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    conduct its day-to-day business. By approximately
    8:45 a.m., Stokoe’s IT provider was able to take
    measures to protect Stokoe’s data and that of ten
    other     law    firms    potentially    affected.
    Consequently, Stokoe was unable to gain access to
    their IT system until November 9, 2020. During the
    time that the IT system was down, Stokoe faced
    significant impediments in carrying out their
    day-to-day business activities, including the
    inability   to  receive   emails   on  their  work
    addresses. Stokoe was informed by its IT provider
    that after evaluating the password used to
    orchestrate the hacking, it determined that the
    hacking was linked specifically to Stokoe (rather
    than any of the ten other law firms affected) and
    that Stokoe’s financial material and banking data
    were accessed.

         Stokoe has been operating since 1994.     As a
    firm, [Stokoe] ha[s] never before 2020 been
    affected by such cyberattacks.         [Tsiattalou]
    believe[s] that these various attempts to access
    Stokoe’s confidential information are linked to its
    representation of Mr. Al Sadeq.         Beyond the
    confidential information that was sought from
    Stokoe as described above, in Mr. Robinson’s
    affidavit, he stated that he received the following
    requests for information:

       a.    Information   about   Ms.   Stirling’s
       whereabouts, telephone numbers, and banking
       information; and

       b. Financial records and monthly transactional
       data from the bank account of Maltin PR.

         Mr. Al Sadeq’s Legal and Support Team has
    been, and remains, a target of a complicated and
    coordinated campaign by unknown perpetrators,
    within the context of their involvement in the
    ongoing Al Sadeq Litigation.

         Accordingly, upon information and belief, Del
    Rosso and Vital Management have information,
    documents, and material which would provide
    evidence necessary to establish the identity of the
    ultimate perpetrators behind the hacking campaign
    targeted against Mr. Al Sadeq’s [l]egal [t]eam, and

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        in turn, aid Mr. Al Sadeq in proving the
        defendants’ ongoing pattern of human rights abuses,
        their efforts to interfere with Mr. Al Sadeq’s
        access   to   legal   representation,   and   their
        willingness to go to extreme lengths to conceal
        their unlawful conduct.

     (Docket Entry 4, ¶¶ 43-48 (headings and internal
     paragraph numbering omitted).) Thus, Applicants seek to
     depose Del Rosso and Vital Management.       (See Docket
     Entries 3-1, 3-2.) In connection with those depositions,
     Applicants seek certain documents concerning Del Rosso’s
     and Vital Management’s interactions with CyberRoot. (See
     id.)

(Docket Entry 7 at 3-29 (emphasis, ellipses, and all but third set

of brackets in original).)

     The Order further noted:

          [I]n October 2020, Azima sued [Movants] in this
     Court for allegedly conspiring with, inter alia, Gerrard,
     Page, and Buchanan to hack Azima’s computer data,
     including emails (the “Azima/Del Rosso Litigation”). See
     generally Azima, Docket Entry 1 (the “Azima Complaint”).
     In particular, the Azima Complaint asserts that Gerrard
     and Dechert hired [Movants] on RAKIA’s behalf to hack
     Azima’s data, which [Movants] accomplished through
     CyberRoot Risk Advisory Private Limited (“CyberRoot”), a
     company in “India that engages in illegal hacking.” Id.,
     Docket Entry 1, ¶ 2.       On February 12, 2021, Azima
     (publically) disclosed the existence of the instant
     litigation to [Movants]. See, e.g., id., Docket Entry
     45, ¶¶ 7-13. On March 5, 2021, [Movants] responded to
     this disclosure by stating, in the Azima/Del Rosso
     Litigation, the following:

             On February 5, a former RAK official filed a
        new discovery application under 28 U.S.C. § 1782 in
        this District (the “Al Sadeq 1782 Application”),
        which, like Azima’s pending discovery motion, seeks
        discovery from [Movants] related to the alleged
        hack of Azima’s data.     Although the underlying
        foreign proceeding does not appear to have any
        relation to [Vital Management], CyberRoot, or
        allegations of hacking, in support of that
        application, the petitioners there submitted a set

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        of photographed copies of purported Kotak Mahindra
        Bank statements (the “Statements”). The Statements
        show payments from [Vital Management] to CyberRoot
        totaling an amount already alleged in the [Azima]
        Complaint.

     Id., Docket Entry 47 at 4.

(Docket Entry 7 at 31-32 (certain brackets in original).) “Despite

the Application’s public disclosure, no one — including Dechert

Defendants, [Movants], or RAKIA — . . . sought to oppose the

Application” prior to issuance of the Order.           (Id. at 32 (citing

Docket Entries dated Feb. 5, 2021, to Oct. 18, 2021).)

     B. “For Use” Determination

     After   granting   Applicants’     request   to   proceed   ex   parte

(see id. at 34-35), the Order analyzed Applicants’ Section 1782

request (see id. at 35-41), stating, as relevant here:

     [I]t bears noting that the “for use” factor imposes only
     a “de minimis” burden upon a Section 1782 applicant. In
     re Veiga, 746 F. Supp. 2d [8,] 18 [(D.D.C. 2010)]
     (collecting cases). Here, Applicants assert that “Del
     Rosso and Vital Management are in possession of relevant
     documents, materials, and information which will aid in
     determining the identity of the perpetrators behind the
     hacking campaign targeting Mr. Al Sadeq’s Legal and
     Support Team and lend support to Mr. Al Sadeq’s claims of
     human rights abuses against the defendants.”      (Docket
     Entry 2 at 20.)    As support for that contention, the
     record reflects that, on Del Rosso’s own admission,
     Dechert hired Del Rosso and Vital Management in 2014 “to
     investigate assets potentially stolen from [RAK’s]
     Government,” a task that included examining “potential
     frauds committed by, amongst others, [Dr.] Massaad”
     (Docket Entry 4-4, ¶ 4), at the direction of Dechert,
     Gerrard,   Buchanan,    and   other   RAK    governmental




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     representatives.   (See, e.g., id. at ¶¶ 4-8.)[23]    The
     record further reflects that, per RAKIA’s claims in the
     Azima Litigation, Al Sadeq participated in these alleged
     frauds with Dr. Massaad and Azima. (See, e.g., Docket
     Entry 4-2, ¶¶ 8, 168-183.) RAKIA’s evidence in the Azima
     Litigation regarding this alleged fraud rested on Azima’s
     confidential emails, obtained through hacking.      (See,
     e.g., id., ¶ 384.)

          RAKIA, Gerrard, and Del Rosso asserted that Page
     located Azima’s hacked emails on the Internet, which
     material Gerrard then engaged Del Rosso and Vital
     Management to download.     (See, e.g., id., ¶¶ 51-53,
     336-343.11; Docket Entry 4-4, ¶¶ 5-18.) In the Azima
     Litigation, Del Rosso further maintained that he “did not
     hack Mr Azima’s computers, cause him to be hacked or know
     who hacked him” and also “did not upload his data to the
     internet, cause his data to be uploaded or know who did
     upload his data.” (Docket Entry 4-4, ¶ 20.) However,
     subsequently discovered evidence in the Azima Litigation
     indicated that Del Rosso allegedly instructed an Indian
     company, CyberRoot, to hack Azima’s data beginning in
     June or July of 2015.     See Azima, Docket Entry 49-1,
     ¶¶ 130, 132. Del Rosso responded to this evidence by
     admitting “that he had engaged CyberRoot to carry out
     work on RAKIA’s behalf; and had arranged the payment to
     CyberRoot of the $1 million. But he said that that was
     for different work which had nothing to do with Mr
     Azima.” Id., Docket Entry 49-1, ¶ 133.

          Like Azima, members of Al Sadeq’s Legal and Support
     Team have received multiple spear-phishing and phishing
     emails since disclosure of their involvement in the Al
     Sadeq Litigation. (See, e.g., Docket Entry 4, ¶¶ 43-44;
     Docket Entry 4-2, ¶¶ 295-300.) Around the same time,
     private investigators received instructions to, inter
     alia, obtain these individuals’ confidential information,
     including bank account information, and track at least
     some of their travel to Dubai — travel associated with
     the Al Sadeq Litigation. (See, e.g., Docket Entry 4,
     ¶¶ 14-15, 33-38, 46.) Notably, the financial information


     23 “In his trial testimony in the Azima Litigation, Del Rosso
indicated that his participation in RAK’s fraud investigation
remained ongoing.   (See Docket Entry 4-5 at 27 (‘[S]ince 2014,
August 2014, I’ve been involved somewhere in this massive
investigation.’).)” (Docket Entry 7 at 36 n.24.)

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 sought from Stokoe overlaps with its engagement in the Al
 Sadeq Litigation and addresses information that Dechert
 Defendants have sought in the Al Sadeq Litigation, namely
 “who was funding that litigation” (id., ¶ 14). (See id.,
 ¶ 34.) Moreover, Grayson admitted that his inquiries to
 Robinson regarding Tsiattalou’s travel to Dubai and the
 funding source for the Al Sadeq Litigation originated
 with Del Rosso (see Docket Entry 6-3 at 3-5), with whom
 Grayson had an ongoing “general consulting arrangement
 . . . to provide general business intelligence services
 and advice” (id. at 5; see also Docket Entry 6-4
 (nondisclosure agreement between Vital Management and
 Grayson)). Page has similarly implicated Del Rosso (as
 well as Dechert, Gerrard, the Ruler, and Grayson) in the
 disputed conduct in the Grayson Proceeding. (See Docket
 Entry 6-6 at 2-3.)

      Applicants seek production of documents related to
 Del Rosso’s and Vital Management’s work with CyberRoot
 for the period from July 1, 2015, through September 30,
 2017. (Docket Entry 3-1 at 7-8; Docket Entry 3-2 at 7-
 8.) This time frame closely correlates to the period in
 which Vital Management paid CyberRoot $1 million (see,
 e.g., Docket Entry 4-7 at 2-10) for either hacking
 Azima’s confidential information, see Azima, Docket Entry
 49-1, ¶ 132, or undertaking some other efforts on RAKIA’s
 behalf, see id., Docket Entry 49-1, ¶ 133, during Del
 Rosso’s   investigation   into    fraudulent   activities
 allegedly involving Al Sadeq, an investigation that
 continued through at least the initiation of the Al Sadeq
 Litigation (see Docket Entry 4, ¶ 25; Docket Entry 4-5 at
 27). Applicants further seek to depose Del Rosso and
 Vital Management, focusing on their work with CyberRoot
 for “the period from January 1, 2015 to the date of [the]
 deposition.” (Docket Entry 3-1 at 5; Docket Entry 3-2 at
 5.)

      Information regarding Del Rosso’s and Vital
 Management’s interactions with CyberRoot during this
 period bears relevance to Applicants’ claims in the
 Foreign Proceedings. For example, the timing and method
 by which RAKIA obtained Azima’s confidential emails,
 which allegedly implicated Al Sadeq in the asserted
 fraud, appear relevant to Al Sadeq’s contention that
 RAKIA’s claims stem from political motives. Moreover,
 the methods employed in RAK’s “massive investigation”
 (Docket Entry 4-5 at 27) into Dr. Massaad, Azima,
 Mikadze, and Al Sadeq relate to both Al Sadeq’s claims in

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     the Al Sadeq Litigation and to Stokoe’s Hacking Claims,
     particularly because Page (to whom Del Rosso, Gerrard,
     and RAKIA attribute the discovery of Azima’s hacked
     materials online) has suggested that Del Rosso, Gerrard,
     and the Ruler bear responsibility for at least some of
     the conduct at issue in the Grayson Proceeding. Further,
     given both the direct and circumstantial evidence linking
     Del Rosso and the Al Sadeq Litigation with the hacking
     attempts, cyberattacks, and illicit investigations
     regarding Stokoe and associated individuals, ascertaining
     whether Del Rosso and Vital Management enlisted CyberRoot
     to hack individuals involved in scrutinizing alleged
     human rights violations by RAK and its Ruler — violations
     involving both Azima’s alleged co-conspirator and, as in
     the Azima Litigation, Dechert Defendants — qualifies as
     relevant to both the Al Sadeq Litigation and Grayson
     Proceeding. Accordingly, the Court finds that Applicants
     have satisfied their burden of establishing that the
     requested discovery satisfies the “for use” requirement
     of Section 1782(a).

(Docket   Entry     7   at   35-40    (ellipsis    and   certain    brackets   in

original).)

     C. Supplemental Record

     After the Court issued the Order, the parties submitted

additional materials in connection with the Motion.                 (See Docket

Entries   16   to    16-2,    18     to   18-9.)   In    relevant    part,   this

supplemental record reflects:

     Dated January 29, 2021 (see Docket Entry 16-1 at 2), the

Amended Al Sadeq Claim includes additional allegations of attempts

to obtain confidential information regarding Stokoe (see, e.g.,

id., ¶ 215A).       In this regard, the Amended Al Sadeq Claim alleges:

     215A. Attempts have been made by persons connected to one
     or more of [Dechert] Defendants to unlawfully obtain
     confidential and/or privileged information from Mr Al
     Sadeq’s solicitors, [Stokoe], in connection with its


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     representation of Mr Al Sadeq in these proceedings.          In
     particular:

        215A.1 In June 2020, Stokoe commenced a claim with
        Claim No. QB-2020-002218 against Oliver Moon, Paul
        Robinson and Company Documents Ltd seeking (inter
        alia) Norwich Pharmacal relief,[24] alleging that
        those persons had been involved in unlawful
        attempts to obtain confidential banking information
        from Stokoe in connection with these proceedings.
        Although [Dechert] Defendants were not party to
        those proceedings, nonetheless their solicitors,
        Enyo Law, attended a remote hearing on 7 July 2020
        in those proceedings. It is to be inferred that
        Enyo Law became aware of those proceedings (which
        at that stage had not been publicised) through one
        or more of [Dechert] Defendants, who in turn became
        aware of them through a pre-existing connection
        with one or more of the [d]efendants to those
        proceedings (i.e. the persons alleged to have
        sought to obtain the confidential information).

        215A.2   On  16   July   2020,  Stokoe   commenced
        proceedings with Claim No. QB-2020-002492 against
        Mr Patrick Grayson, Grayson & Co, Stuart Page and
        Page Corporate Investigations Ltd.       In those
        proceedings, Stokoe alleges that the defendants,
        each of whom are private investigators and the
        corporate entities through which they carry out
        investigative work, were involved in attempts to
        obtain confidential information in connection with
        Stokoe’s instruction by Mr Al Sadeq.

     216. It is apparent that all of the steps taken against
     Mr Al Sadeq as pleaded at paragraphs 215 and 215A were
     taken in order to impede the preparation of this claim


     24 “[A] Norwich Pharmacal proceeding [i]s a vehicle by which
[litigants may] . . . obtain[] an order in the English High Court
of Justice[] requiring [certain persons or entities] to disclose
documents . . . .” First Union Nat’l Bank v. Paribas, 135 F. Supp.
2d 443, 449 n.17 (S.D.N.Y. 2001), aff’d sub nom., First Union Nat’l
Bank v. ARAB African Int’l Bank, 48 F. App’x 801 (2d Cir. 2002);
see also In re Application of Braga, 789 F. Supp. 2d 1294, 1306
(S.D. Fla. 2011) (discussing “orders under the Norwich Pharmacal
doctrine applicable in British practice” and citing Norwich
Pharmacal Co. v. Customs & Excise Comm’rs, [1974] AC 133 (Eng.)).

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     against, and (it is to be inferred) with the knowledge
     and / or at the request of one or more of [Dechert]
     Defendants.

(Docket   Entry    16-1,     ¶¶     215A-216      (track-changes     formatting

omitted).)

     The Amended Al Sadeq Claim further asserts that “[t]he harm

caused to Mr Al Sadeq was the result of a single campaign of

unlawful acts in respect of which each of the [Dechert] Defendants

worked together     to   bring    about     and   contribute   to    that   harm.

Accordingly,    [Dechert]    Defendants        are   jointly   and    severally

responsible for that harm under Article 291 of the Civil Code.”

(Id., ¶ 228B (track-changes formatting omitted).)              Per the Amended

Al Sadeq Claim, Al Sadeq suffered severe physical, psychological,

moral, and financial harm, including the loss of assets valued at

more than AED 75 million, from Dechert Defendants’ actions.                 (See,

e.g., id., ¶¶ 294-298.)

     Dated September 9, 2021, the Amended Grayson Claim adds

Dechert and Gerrard as defendants in the Grayson Proceeding. (See,

e.g., Docket Entry 16-2 at 2; id., ¶¶ 5A-5C.)               According to the

Amended Grayson     Claim,    the    confidential     information     regarding

Stokoe that “was obtained by, through or at the instigation of

[Grayson, Grayson’s company, Page, and/or Page’s company] was

obtained at the request of and/or passed on to [Gerrard and/or

Dechert].”     (Id., ¶ 15A (track-changes formatting omitted).)               In

this regard, the Amended Grayson Claim alleges, inter alia:


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      6. From about January 2020, [Grayson] instructed Mr
 Paul Robinson to investigate [Stokoe] and to obtain
 information about [Stokoe] which (as explained below) was
 plainly confidential to [Stokoe], for reward.          Mr
 Robinson has explained this in his affidavit dated 6 July
 2020. In particular:

    (1) The first such instructions were given in or
    about January 2020 at a meeting at the Goring Hotel
    in Belgravia, London. At that meeting, [Grayson]
    asked Mr Robinson whether he knew anyone who was
    able to investigate [Stokoe] and obtain banking
    information.

    (2) [Grayson] asked Mr Robinson a number of
    follow-up questions from time to time based on the
    information   that   Mr  Robinson   obtained,   in
    particular by encrypted text messages sent using
    the Signal system which [Grayson] set to be
    automatically deleted.

 7. Mr Robinson in turn requested Mr John Gunning to
 obtain such information about [Stokoe]. Mr Gunning and
 Mr Robinson have confirmed this in affidavits dated
 respectively 2 and 6 July 2020. Mr Gunning in turn made
 requests of Mr Oliver Moon, as Mr Moon has confirmed in
 an affidavit dated 2 July 2020. In particular:

    (1) On or about 2 April 2020, Mr Robinson requested
    Mr Gunning to obtain the banking co-ordinates of
    [Stokoe].

    (2) On or about 9 April 2020, Mr Robinson requested
    Mr Gunning to access [Stokoe’s] main bank account
    and to obtain transactional data for the past three
    months.

    (3) On or about 21 April 2020, Mr Robinson
    requested Mr Gunning to obtain information as to
    the “movements in and out of Dubai – for Feb 2020”
    of [Tsiattalou].

 (together, the “Example Requests”).

 8. The subjects of each of the Example Requests coincided
 with the Al Sadeq Litigation in that:



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    (1) As to the first:       Around 2 April 2020,
    enquiries were being made in the course of the Al
    Sadeq Litigation concerning the source of funding
    in those proceedings.

    (2) As to the second:    The Claim Form in the Al
    Sadeq Litigation was filed on 28 January 2020.

    (3) As to the third: Mr Tsiattalou is the partner
    of [Stokoe] with conduct of the Al Sadeq
    Litigation. He visited Dubai for the purposes of
    that litigation in February 2020.

 9. The link with the Al Sadeq Litigation and parties
 thereto is supported by the following facts, namely that:

    (1) On or about 22 April 2020, [Grayson] also
    requested Mr Robinson to obtain information
    relating to [Stokoe’s] client account, including
    transactional information for March 2020, which
    request was passed on by Mr Robinson to Mr Gunning.
    According to Mr Gunning in his said affidavit, he
    was told by Mr Robinson that it was likely that
    transactional information of [Stokoe] would also be
    sought for the period November 2019 to February
    2020.   It is to be inferred that this latter
    information came to Mr Robinson from [Grayson].
    The period in question overlaps with the period of
    [Stokoe’s] instruction by Mr Al Sadeq.

    (2) [Grayson] also requested Mr Robinson to obtain
    information from other persons connected to the Al
    Sadeq Litigation. In particular:

       (a) In or about October to December 2019,
       [Grayson]    requested   the    obtaining    of
       confidential   information   about   Ms   Radha
       Stirling of Detained in Dubai, which is a
       human rights advocacy organisation assisting
       Mr Al Sadeq.

       (b) In or about February and March 2020,
       [Grayson] requested and obtained financial
       records and monthly transactional data from a
       bank account held by Maltin PR, which is a
       public relations and litigation support entity
       assisting   [Stokoe]   with   the   Al   Sadeq
       Litigation.

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    (2A) On 12 March 2020, [Grayson] sent an email from
    finucane03@gmail.com to cloverdock@protonmail.com.
    The email attached a chart which was described in
    the said email as “B-A-E-D Relationship Chart” (the
    “Chart”) with a large dramatis personae and alleged
    links   between   the  individuals   and   entities
    depicted. Those depicted include many connected to
    the Al Sadeq Litigation. It is to be inferred that
    [Grayson’s] investigation of [Stokoe] was part of a
    wider campaign, linked in part to the Al Sadeq
    Litigation.

    (3) In or about April 2020, [Grayson] requested the
    obtaining of three months of corporate banking
    transactions of Hogan Lovells, an international
    firm of solicitors. Hogan Lovells have no role in
    the Al Sadeq Litigation.    However, Hogan Lovells
    act on behalf of Eurasian Natural Resources
    Corporation (“ENRC”) in court proceedings commenced
    by ENRC against Dechert and Mr Gerrard. Dechert
    and Mr Gerrard are defendants in the Al Sadeq
    Litigation.

 9A. The Chart states that Maltin PR “paid RS for raising
 profile of KAS”. That information was confidential and
 could only have been added by someone party to a breach
 of confidence. The Chart’s metadata suggest that it was
 created on 24 February 2020 and modified on 11 March
 2020.   It is to be inferred that [Grayson] and/or an
 associate modified the Chart following receipt of Maltin
 PR’s confidential information as a result of [Grayson’s]
 requests to Mr Robinson to investigate Maltin PR.

 10. The information which was the subject of the Example
 Requests was plainly confidential in that:

    (1)   A  solicitors’   firm’s   bank  details   and
    transactional data are not generally available. A
    solicitors’ firm would not wish such information to
    be generally available.

    (2) The movements of a solicitor while acting for a
    client engaged in litigation are not generally in
    the public domain. A solicitor would not wish such
    information   to   be   generally   available,   in
    particular   because  it   is   likely  to   reveal
    privileged information.


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    (3) Those considerations would have been obvious to
    the reasonable recipient. They were emphasised by
    the surreptitious way in which the information was
    gathered and conveyed.

 11. [Stokoe] cannot be sure if the Example Requests are
 the only instances on which its confidential information
 was requested and/or obtained, and reserves its right to
 supplement the[ Amended Grayson] Claim to the extent that
 further instances are discovered.

 11A. In particular, in a period between about March 2020
 and September 2020, [Stokoe] and others working on the Al
 Sadeq Litigation received a heightened number of spear-
 phishing emails. [Stokoe] does not presently know if any
 of these were successful and reserves the right to
 supplement the[ Amended Grayson] Claim to the extent that
 further information is uncovered.

 Confidential information       obtained    by   [Grayson    and
 Grayson’s company]

 12. Mr Robinson provided the confidential information,
 including that obtained from the Example Requests, to
 [Grayson]. In particular:

    (1) In or about April 2020, Mr Robinson met
    [Grayson] in Sloane Square, London.  Mr Robinson
    provided him with a hard copy print out of the
    information, and a USB stick containing the same
    information electronically.

    (2) On other occasions, Mr Robinson sent the
    information using a Proton Mail encrypted email
    account to the address cloverdock@protonmail.com.

 13. [Stokoe] believes that, in requesting and/or
 receiving the information, [Grayson] was acting through
 [Grayson’s company] (being the company through which he
 appears to provide investigation services).

 Confidential information obtained by [Page and Page’s
 company]

 14. [Stokoe] believes and avers that [Page and/or his
 company] have accessed some or all of, and have misused,
 its confidential information, including that obtained


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 from the Example Requests. [Stokoe] relies in particular
 on the following facts and matters:

    (1) [Page] is an investigation agent who has
    admitted being instructed by the Ruler of the
    Emirate in which [Stokoe’s] client Mr Al Sadeq is
    detained, meeting the Ruler regularly (sometimes
    monthly) and alone. [Page] made such admission in
    the course of giving evidence on behalf of [RAKIA]
    in High Court proceedings between RAKIA and Mr
    Farhad Azima (the “Azima [Litigation]”) tried in
    January-February 2020 before Mr Andrew Lenon QC
    (sitting as a Deputy Judge of the High Court).

    (2) In his judgment in the Azima [Litigation] – Ras
    Al Khaimah Investment Authority v. Azima [2020]
    EWHC 1327 (Ch) (the “Azima Judgment”) – at
    paragraph 369 the Judge held that “Mr Page operates
    in a world of covert surveillance in which agents
    acquire confidential information unlawfully and
    that Mr Page has dealings with such agents.” He
    further found that “it would be a reasonable
    inference . . . that Mr Page has access to agents
    with the capacity to hack emails.”

    (3) In the Azima Judgment, it was found that [Page]
    was instructed by the Ruler to arrange covert
    surveillance   monitoring   and  investigation   of
    persons whom the Ruler viewed as adverse to him
    and/or RAK and/or RAKIA, and towards whom the Ruler
    felt hostile, including Mr Azima (see in particular
    paragraph 377 of the Azima Judgment).        [Page]
    briefed the Ruler on such projects by way of
    “Project Updates”, which briefings were also
    provided to Mr Neil Gerrard of the law firm Dechert
    (see in particular paragraphs 32, 266 and 273 of
    the Azima Judgment).    Mr Gerrard and Dechert are
    both defendants in the Al Sadeq Litigation, having
    carried out work in relation to Mr Al Sadeq on
    behalf of the Ruler and/or RAK and/or RAKIA in
    respect of which Mr Al Sadeq claims redress.

    (4) [Stokoe] believes that the unlawful accessing
    of its confidential information has been caused or
    procured by those interested in and/or associated
    with the defence of the Al Sadeq Litigation. The
    Azima Judgment shows the way in which [Page] has
    provided his investigation and monitoring services

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    for or on behalf of persons whom [Stokoe] avers
    have an interest in defeating the Al Sadeq claims
    or those acting for and/or associated with them.

    (5) A public Internet Protocol address used to
    access [Stokoe’s] confidential information has been
    geolocated to an address in the vicinity of the
    premises at 5-8 Sanctuary, London SW1P 3JS which
    were at material times the address of both [Page
    and his company].

    (6) [Page’s company] is a company providing
    investigation services of which [Page] is a
    director.

    (7) [Stokoe’s] lawyers saw [Page] at close quarters
    at their hotel in Dubai when they were working on
    the Al Sadeq Litigation. They believe that [Page]
    and/or his associates were at the time surveilling
    them.

    (8) According to information provided by [Page]
    through solicitors instructed by him (Stephenson
    Harwood) in a letter to [Stokoe] dated 28 July
    2020, Mr Robinson has worked with [Page] on a
    number of investigations and they have allegedly
    discussed merging their businesses. It is thereby
    to be inferred that Mr Page knows of and approves
    of Mr Robinson’s business and methods, and vice
    versa.   Mr Robinson’s said business and methods
    include the wrongful accessing of [Stokoe’s]
    confidential information, to which Mr Robinson has
    admitted in his affidavit, as set out above.

    (9) Mr Robinson contacted [Page] when Mr Robinson
    was served with an application for Norwich
    Pharmacal relief and an injunction arising out of
    the Example Requests (claim number QB-2020-002218).

    (10) [Page] offered to assist Mr Robinson with
    funding a lawyer in connection with defending such
    claim.

    (11) Although, in   a short affidavit sworn by [Page]
    on 27 July 2020,    [Page and his company] appear to
    deny   obtaining     confidential  information   from
    [Stokoe], [Page]    has previously failed to give a
    true account of     his discovery of information in

                               40




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        High Court litigation, this being the finding in
        the Azima Judgment at paragraphs 355 to 356.

        ******

        (13) It is to be inferred that Mr Robinson
        contacted [Page] as alleged above because they had
        a mutual interest in the proceedings concerning the
        Example Requests since [Page] (and through him,
        [Page’s company]) was/were involved with, party to
        or otherwise complicit in the wrongdoing comprised
        within the Example Requests.

     15. As providers of investigation services, it is to be
     assumed that each of [Grayson, Page, and their companies]
     typically obtain information on the instructions of
     others, to whom they pass it on, rather than for their
     own use.

(Docket Entry 16-2, ¶¶ 6-15 (hyperlinks, track-changes formatting,

and deletions omitted) (emphasis, italicization, and first ellipsis

in original).)     Per the Amended Grayson Claim, “[i]t is to be

inferred from the facts and matters set out in paragraphs 19B and

19C below that such confidential information of [Stokoe] as was

obtained by, through or at the instigation of [Grayson, Page,

and/or their companies] was obtained at the request of and/or

passed on to [Gerrard and/or Dechert].” (Id., ¶ 15A (track-changes

formatting omitted).)

     The Amended Grayson Claim further alleges:

     [Page and Page’s company]

     19A. It is to be inferred that [Page and/or his company]
     were party to the underlying conspiracy. This is to be
     inferred from:

        (1) The matters alleged in paragraph 14 above.



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    (2) On 16 September 2020, Allen & Overy LLP sent a
    letter by email to Stephenson Harwood LLP (the
    “Allen & Overy Letter”). Allen & Overy LLP state:
    “We understand from Mr Jamie Buchanan that your
    client, Mr Stuart Page [the Third Defendant], has
    made a number of statements in communications that
    he had with Mr Buchanan in August and September
    2020 that appear to refer to our clients, the Ruler
    and the Government of [RAK]”. Mr Jamie Buchanan,
    to whom [Page] is said to have conveyed this
    message, is the former Chief Executive Officer of
    Ras Al Khaimah Development LLC, which holds and
    manages assets and liabilities previously owned by
    [RAKIA] (an investment entity of RAK). The Allen &
    Overy Letter states:

    “your client [sc. Mr Stuart Page, the Third
    Defendant]   referred   to   English   High   Court
    proceedings that have been commenced against him by
    Stokoe Partnership Solicitors and said: “if I have
    to implicate Nick / Patrick, Decherts, Neil and the
    boss to get me out of this I will.” We understand
    that your client’s reference to “the boss” is
    intended to be a reference to the Ruler.”

    (3) It is to be inferred that:

       (a) “Nick” is Mr Del Rosso;

       (b) “Patrick” is the First Defendant;

       (c) “Decherts” is the Fifth Defendant;

       (d) “Neil” is the Sixth Defendant;

       (e) The Ruler of RAK is (as Allen & Overy LLP
       surmise) “the boss”. Mr Al Sadeq alleges in
       the Al Sadeq Litigation that charges brought
       against him were politically motivated on the
       part of the Ruler.

    (4) The Allen & Overy Letter demonstrates that
    [Page] has knowledge of the underlying wrongdoing
    against [Stokoe], sufficient to enable him to
    implicate various individuals as wrongdoers. It is
    to   be  inferred   that   [Page]   obtained  this
    information through his (and/or [his company’s])


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    participation in the underlying          conspiracy    to
    injure [Stokoe] by unlawful means.

    (5) By a WhatsApp message sent on 29 July 2020 at
    1.50pm, [Page] wrote to his colleague Caroline
    Timberlake: “Grayson is protecting NDR”. [Page]
    thereby   demonstrated   his   knowledge   of   the
    background facts and in particular that [Grayson’s]
    activities in this matter were connected with
    Nicholas Del Rosso. [Grayson] did not refer to Mr
    Del Rosso in these proceedings until his Part 18
    response dated 19 March 2021. [Page and therefore
    his company] were thus privy to the covert
    wrongdoing of [Grayson and/or Grayson’s company]
    and/or Mr Del Rosso.

 [Dechert and Gerrard]

 19B. [Grayson] made the Example Requests, and the wider
 enquires pleaded at paragraph 9, as part of his work for
 Mr Nicholas Del Rosso of [Vital Management]. This is
 apparent from the following facts:

    (1) [Grayson] was retained by Vital [Management]
    from about 2018.   Pursuant to that retainer, he
    signed a non-disclosure agreement made on and
    effective 30 August 2018 (the “NDA”) for a term of
    36 months. The term spans the matters in question
    in these proceedings.

    (2) [Grayson] has stated in response to a Part 18
    Request (and confirmed in his witness statement
    dated 14 May 2021) that he was interested in
    [Stokoe’s] affairs due to an enquiry from Mr Del
    Rosso.

 19C. Mr Del Rosso’s instruction of [Grayson] was made
 pursuant to an instruction from Dechert and/or Mr
 Gerrard.  This is to be inferred from the following
 facts:

    (1) Mr Del Rosso provides consulting services
    through Vital[ Management]. His enquiry is, for
    that reason, likely to have been on behalf of a
    client.

    (2) Vital [Management] was retained by Dechert and
    instructed by Mr Gerrard from at least 2014. Mr

                               43




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    Del Rosso admits to having paid $1 million to an
    Indian company, CyberRoot.        An employee of
    CyberRoot admits to having hacked Mr Farhad Azima
    to obtain evidence for a civil claim which
    Dechert’s client, RAKIA, subsequently brought
    against Mr Azima (the Azima [Litigation]). Dechert
    and Mr Gerrard therefore have the means and
    propensity to order such wrongdoing and rely upon
    Mr Del Rosso to carry it out.

    (3) Mr Gerrard and Dechert are defendants to the Al
    Sadeq   Litigation.      Information   sought   was
    associated with and/or relevant to the Al Sadeq
    Litigation.

    (4) Mr Gerrard gave false evidence in the Azima
    [Litigation] about his involvement with Mr Al
    Sadeq,   suggesting  that  he   was  involved  in
    clandestine and improper activity regarding Mr Al
    Sadeq.

    (5) Dechert and Mr Gerrard were, at the time
    [Grayson] was actively seeking the information,
    interested in the funding of the Al Sadeq
    Litigation. Solicitors acting for Mr Gerrard and
    Dechert wrote to [Stokoe] asking a series of
    questions about the same on 16 April 2020.

    (6) Parallel attempts were made to access the
    private affairs of Radha Stirling, Maltin PR and
    Hogan Lovells. Dechert and Mr Gerrard have direct
    interest in and links to the group targeted and the
    wider group in the Chart. Dechert and Mr Gerrard
    also have motive and means to investigate that
    group’s private affairs. Paragraphs 9(2A) and 9A
    above are repeated.

    (7) Matthew Banham is and was at all material times
    a Partner at Dechert.       Mr Banham’s areas of
    practice overlapped with Mr Gerrard’s. Mr Banham
    was personally involved in investigating Radha
    Stirling. Mr Banham made his investigations via Ms
    Stirling’s former colleague David Haigh up to at
    least early 2020.     Ms Stirling is and was an
    advocate of the plight of Mr Al Sadeq.

    (8) Stuart Leach is a public relations adviser who
    worked at material times with Dechert. He was also

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        involved in the process            of   investigating   Ms
        Stirling via Mr Haigh.

        (9) Mr Page claims to hold information which would
        incriminate [Grayson, Dechert, and Gerrard] in
        [Stokoe’s] case.

        (10) In their response dated 25 May 2021 to letters
        before claim dated 10 May 2021, the solicitors to
        [Dechert and Gerrard] (Enyo Law) declined to admit
        or deny the matters set out in sub-paragraphs (2)
        and (5) above, alleging instead that “they appear
        to be makeweight points which take matters no
        further forwards.”

     19D. It is further to be inferred that [Grayson and his
     company] took the actions detailed above pursuant to an
     agreement with Mr Del Rosso, [Dechert, and/or Gerrard].
     In the premises, [Dechert and Gerrard] have committed the
     tort of conspiracy.

(Docket Entry 16-2, ¶¶ 19A-19D (track-changes formatting omitted)

(emphasis,    italicization,    and    certain    sets   of   brackets   in

original).)

     Finally, Robinson provided an affidavit (Docket Entry 18) (the

“Robinson Declaration”), the purpose of which “is to provide

further details of [Robinson’s] dealings with Mr Grayson and

details of [his] dealings with Mr Nicholas Del Rosso and in

particular the involvement of Mr Del Rosso in the enquiries that Mr

Grayson instructed [Robinson] to carry out.”             (Id., ¶ 5.)     As

relevant to the Motion, Robinson avers:

          [Robinson is] a director of a corporate research and
     investigation firm, Company Documents Ltd, which
     undertakes standard corporate research and worldwide
     document retrieval.      Company Diligence (to which
     [Robinson] refer[s] below) is a trading name of Company
     Documents Ltd and undertakes more in-depth investigative


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 research and due diligence enquiries with a separate
 US-facing website.

       ******

      Mr Del Rosso is a private investigator and managing
 director of [Vital Management], based in North Carolina,
 USA.   [Robinson] was first introduced to [Del Rosso]
 through another private investigator in around 2016.
 Over the following years Mr Del Rosso instructed
 [Robinson] to carry out a number of different open source
 intelligence enquiries for which [Robinson] received
 payment. Prior to the instructions [Robinson] received
 from Mr Grayson between early 2019 and June 2020 (“the
 Grayson enquiries”), which [Robinson] detail[s] in [his]
 first witness statement, all instructions [Robinson]
 received from Mr Del Rosso came directly from Mr Del
 Rosso and not through Mr Grayson.

      The way in which Mr Del Rosso instructed [Robinson]
 changed in respect of the Grayson enquiries. Whereas
 prior to Mr Grayson’s involvement, Mr Del Rosso had
 instructed [Robinson] directly, when Mr Grayson became
 involved, beginning in early 2019, he was the one who
 instructed [Robinson] on the Grayson enquiries, which
 [Robinson] believe[s] were made on behalf of Mr Del Rosso
 as he was paying for them. [Robinson] do[es]n’t know why
 these instructions came through Mr Grayson and can only
 surmise that it was due to their confidential nature.
 Whilst Mr Grayson provided the instructions in respect of
 the Grayson enquiries, with the exception of the £5,000
 in cash paid to [Robinson] by [Grayson] and the payment
 for Project Maxwell (which [Robinson] give[s] further
 details of below), Mr Del Rosso / [Vital Management] paid
 [Robinson] for all of the Grayson enquiries.

      Whilst the Grayson enquiries centred upon what
 [Robinson] characterise[s] as “UAE related matters” some
 of the prior open source research investigations upon
 which [Robinson] was directly instructed by Mr Del Rosso
 also concerned UAE matters. An example of this concerns
 Mr Farhad Azima, who [Robinson is] aware was involved in
 litigation with [RAK].        Mr Del Rosso instructed
 [Robinson]   to   carry   out   open   source   research
 investigations concerning Mr Azima.

      On 28 January 2018, Company Diligence, entered into
 a consultancy agreement with [Vital Management] for which

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     [Vital Management] initially made a payment of £500 per
     month.   These monthly payments commenced in 2018 and
     ended in June 2020. A copy of that consultancy agreement
     is annexed hereto and labelled as Exhibit C.

          When [Robinson] spoke to Mr Grayson in connection
     with the Grayson enquiries, [Grayson] informed [Robinson]
     that [Grayson] had only recently returned from visiting
     Mr Del Rosso in North Carolina. Mr Grayson also informed
     [Robinson] that Mr Del Rosso would be responsible for
     paying [Robinson] for the Grayson enquiries. Whilst Mr
     Grayson paid [Robinson] £5,000 (half of the sum agreed)
     for obtaining certain confidential information in respect
     of the Stokoe Partnership (as explained in [Robinson’s]
     first witness statement), [Vital Management] made the
     remaining payments to cover the cost of the Grayson
     enquiries.

          [Robinson] also recall[s] one occasion when Mr Del
     Rosso contacted [Robinson] by secure message after
     [Robinson] had sent him an invoice in relation to the
     Grayson enquiries. [Del Rosso] queried what the amount
     was for, saying that it was not related to him and
     [Robinson] should speak to Mr Grayson regarding this.
     [Robinson] believe[s that Robinson] must have spoken to
     Mr Grayson at the time to try and resolve the matter and
     assume that [Grayson] would have spoken to Mr Del Rosso
     to explain any issue, as the invoice was subsequently
     settled in full by Mr Del Rosso. [Robinson] can’t recall
     exactly which invoice this query was relating to, but
     [Robinson] think[s] it was in early 2020.

          [Robinson] ha[s] collated a number of invoices which
     were issued by both Company Diligence and Company
     Documents Ltd to both Mr Del Rosso and [Vital Management]
     for work which [Robinson] carried out from January 2016
     - April 2020. These documents include invoices for the
     work that was carried out as part of the Grayson
     enquiries. Copies of these invoices are annexed hereto
     and labelled as Exhibit D.[25]




     25   The exhibit contains thirty invoices, dated between
January 2016 and June 2020, addressed to “Nick Del Rosso” and/or
“Vital Management Services Inc.,” totaling approximately £170,000.
(Docket Entry 18-5 at 2-31.)

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      Six   invoices    (dated    1/11/2019,   26/02/2020,
 16/03/2020, 2/04/2020, 9/04/2020 and 7/06/2020) are not
 the original invoices which [Robinson] sent to Mr Del
 Rosso. When these invoices were first issued, [Robinson]
 sent   them    by    email    to   Mr   Del    Rosso   at
 reverendmack@protonmail.com and they were subsequently
 paid. Following service of the Claim QB-2020-002218 upon
 [Robinson] on 1 July 2020, [Robinson] spoke to Mr Del
 Rosso who told [Robinson] not to mention [Del Rosso’s]
 name in relation to this work and to keep [Del Rosso’s]
 name out of the entire matter. In an effort to distance
 [Robinson] from Mr Del Rosso, [Robinson] deleted the six
 invoices.    Before [Robinson] deleted the invoices,
 [Robinson] made a note of the detail set out therein.
 [Robinson] subsequently used this detail to recreate the
 six invoices that [he] now exhibit[s].        Whilst the
 handwritten note is no longer available, [Robinson] ha[s]
 checked [his] bank statements, and confirm[s] that
 payment for these invoices entered [his] bank account
 within days of the invoice date.

      Two further      points    of   detail   concerning    the
 invoices:

      The narrative on the spreadsheet for the invoice
 dated 16 March 2020 refers to “RS” (Radha Stirling) and
 to “P” (Patrick Grayson). Ex. D.

      The 10 July 2019 invoice contains the following
 narrative:   “OP Dotty - Adress (sic) Trace - as
 instructed by PG £250”.   The PG referred to is Mr
 Grayson. Ex. D.

      [Robinson] ha[s] collated a number of relevant
 Company Diligence bank statements for the period November
 2018 - June 2020. Copies of these statements are annexed
 hereto and labelled as Exhibit E.       [Robinson] ha[s]
 redacted a number of entries as they are not relevant to
 the present matter.      The ones that have been left
 unredacted show that payments were received from [Vital
 Management]. A proportion of these sums were then paid
 to John Gunning (whom [Robinson] had instructed to
 undertake the Grayson enquiries) by [Robinson]/Company
 Diligence. All of these payments to John Gunning were
 for work carried out in relation to the Grayson
 enquiries. The one exception is the £750 payment from Mr
 Grayson on 23 January 2020. Ex. E. This payment was for
 an enquiry Mr Grayson instructed [Robinson] to carry out,

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     which was unconnected to these proceedings.          The
     reference on the bank statement is “Project Maxwell”,
     this was the name attributed to this particular enquiry.

          On 1 July 2020 [Robinson] was served with a letter
     from [Stokoe], enclosing among other matters, the claim
     form and an application notice seeking Norwich Pharmacal
     relief against [Robinson].

          On the same date [Robinson] called Mr Del Rosso and
     explained what had happened. The conversation was brief
     and [Del Rosso] told [Robinson] that his American lawyer
     would contact [Robinson] and that if [Robinson] did not
     mention [Del Rosso’s] name [Del Rosso] would pay any
     legal fees [Robinson] incurred in relation to the
     proceedings. A short time later Brandon Neuman, Mr Del
     Rosso’s American lawyer, called [Robinson].[26] A number
     of emails were exchanged between [Neuman] and [Robinson]
     in connection with the matter. This email correspondence
     is annexed hereto and labelled as Exhibit F.

          In a conversation over Signal, Mr Neuman informed
     [Robinson] that as he was based in the USA, he could not
     assist [Robinson,] and he advised [Robinson] to contact
     a lawyer based in the United Kingdom, which [Robinson]
     did.   Mr Del Rosso informed [Robinson] that he would
     assist with [Robinson’s] legal fees and he would set up
     a loan agreement, which is what happened. On 2 July 2020
     Company Documents Ltd entered into a loan agreement with
     [Vital Management] for the sum of $25,000. The money was
     due to be repaid on 1 July 2021 and the rate of interest
     was 8% per annum.    A copy of that loan agreement is
     annexed hereto and labelled as Exhibit G.

          The loan has not yet been repaid, and [Robinson]
     ha[s] not yet been asked to repay it.       However, the
     proceedings against [Robinson] were settled shortly after
     [Robinson] swore the affidavit.

            Shortly after 1 July 2020 [Robinson] became aware
     that    [he] was under 24 hour overt and covert


     26   Neuman serves as Movants’ lawyer in this matter (see,
e.g., Docket Entry 8 at 1), signing and filing the Motion and
supporting materials on Movants’ behalf (see, e.g., Docket Entry 14
at 3-4; Docket Entry 15 at 30-32; Docket Entry 16 at 1, 3-4; Docket
Entry 19 at 16-18).

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     surveillance.     As [Robinson] felt threatened by the
     individuals carrying out the surveillance, [Robinson]
     spoke to another private investigator, Gary Lowe (with
     whom [Robinson] had a long-standing relationship), as
     [Robinson] knew [Lowe] offered personal security
     services. [Robinson] knew that Mr Lowe had previously
     worked with Mr Del Rosso and [Lowe] told [Robinson] that
     [Lowe] would speak to Mr Del Rosso about what [Robinson]
     had told [Lowe].      A short time after this, Mr Lowe
     reported back to [Robinson] that [Lowe] would offer
     [Robinson]      some    security     and    carry     out
     counter-surveillance on [Robinson’s] behalf and that
     [Robinson] would not have to pay [Lowe] for this. Over
     the next three weeks or so, under Mr Lowe’s directions,
     a    number    of    individuals   carried    out    24/7
     counter-surveillance upon the people watching [Robinson]
     and offered security for [Robinson] and [his] family.
     Although Mr Lowe never told [Robinson] directly,
     [Robinson] assumed that Mr Del Rosso was paying Mr Lowe
     for the counter-surveillance, given the circumstances and
     the fact of Mr Lowe’s existing relationship with Mr Del
     Rosso.

           In [Robinson’s] first witness statement [he]
     exhibited a number of Signal messages between Mr Grayson
     and [Robinson]. These messages mostly covered the period
     from January 2020 - June 2020. [Robinson] now exhibit[s]
     a number of additional Signal messages between [Robinson]
     and Mr Grayson spanning the period June 2019 - January
     2020.   These Signal messages are annexed hereto and
     labelled as Exhibit H.

          With the exception of a number of messages on 9
     October 2019 concerning Project Maxwell, all messages
     contained in Exhibit H are connected to the Grayson
     enquiries. So far as [Robinson] was concerned all the
     relevant enquires referred to within those messages were,
     in one way or another, connected to investigations in the
     UAE.

(Id., ¶¶ 1, 7-23 (emphasis, headings, and internal paragraph

numbering omitted).)

     Exhibit F to Robinson’s Declaration contains two email chains,

entitled “Re: invoice” and “RE: Details of claim part 1,” between


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Robinson and Neuman dated between July 1, 2020, and July 3, 2020.

(See Docket Entry 18-7 at 2-5.)27       The “Re: Details of claim part

1” emails all bear the date of July 1, 2020.       (See id. at 3-4.)     In

the first email exchange between Robinson and Neuman in this chain,

Robinson states, “Dear Brandon, Please see attached the claim.

Regards, Paul” (id. at 4), and Neuman responds, “Dear Paul:          Thank

you very much, pleasure to meet you.”         (Id.)   Robinson replies,

“Dear Brandon, Pleasure to meet you too!       Thank you in advance for

your assistance in this unfortunate matter. I will send details to

you.    All the best, Paul” (id. at 3), and Neuman responds, “Paul:

Thanks again.      Brandon” (id.).      In the “Re: invoice” emails,

Robinson sends a message on July 2, 2020, stating, “Dear Brandon,

I’ve been asked to send an invoice to you to cover this matter and

you will make a payment today.       Please can you advise to whom it

should be addressed?      Thank you Paul” (id. at 2).28         On July 3,

2020, Neuman responds to that email with a message stating, “Paul:

Can you please give me a call?     1-919-749-4444.”     (Id.)    Exhibit F

does not contain any of the email attachments.        (See id. at 1-5.)29


     27  Jeff Kelly, another of Movants’ attorneys (see, e.g.,
Docket Entry 11 at 1), appears in the “CC” line of two of these
emails. (See Docket Entry 18-7 at 3.)

     28   Also dated July 2, 2020, the Promissory Note for the
$25,000 identifies the borrower as Company Documents Ltd, at a UK
address, and the lender as “Vital Management Services, Inc. c/o
[Movants’ counsel’s then-current firm.]” (Docket Entry 18-8 at 2.)

       29   Movants do not address Robinson’s assertions and evidence
                                                       (continued...)

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                               DISCUSSION

     I. Relevant Standards

     A. Motion to Quash

     Movants filed the Motion pursuant to Rule 45(d)(3) of the

Federal Rules of Civil Procedure (at times, the “Rules”).            (See

Docket Entry 14 at 1.)        The scope of discovery under Rule 45

mirrors Rule 26, see Kinetic Concepts, Inc. v. ConvaTec Inc., 268

F.R.D. 226, 240 (M.D.N.C. 2010) (citing Fed. R. Civ. P. 45 Advisory

Committee’s    Note,   1991   Amend.,   Subdiv.   (a)),    which   permits

discovery of

     any nonprivileged matter that is relevant to any party’s
     claim or defense and proportional to the needs of the
     case, considering the importance of the issues at stake
     in the action, the amount in controversy, the parties’
     relative access to relevant information, the parties’
     resources, the importance of the discovery in resolving
     the issues, and whether the burden or expense of the
     proposed discovery outweighs its likely benefit.
     Information within this scope of discovery need not be
     admissible in evidence to be discoverable.

Fed. R. Civ. P. 26(b)(1).

     Under Rule 45, those “responsible for issuing and serving a

subpoena must take reasonable steps to avoid imposing undue burden

or expense on a person subject to the subpoena.”          Fed. R. Civ. P.

45(d)(1).   Further, Rule 45(d)(3) requires the Court to modify or

quash a subpoena that “subjects a person to undue burden.”         Fed. R.



     29(...continued)
regarding their attorneys’ involvement in this matter. (See Docket
Entry 19 at 1-18.)

                                   52




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Civ. P. 45(d)(3)(A)(iv).30             However, one cannot “refuse discovery

simply      by    making    a    boilerplate         objection       that       it    is     not

proportional.”       Fed. R. Civ. P. 26 Advisory Committee Notes, 2015

Amend.       This    principle      reflects       the   reality      that      “[a]       party

claiming     undue    burden      or   expense       ordinarily           has   far    better

information — perhaps the only information — with respect to that

part of the [proportionality] determination.”                        Id.

       B. Section 1782

       “Section 1782(a) provides that a federal district court ‘may

order’ a person ‘resid[ing]’ or ‘found’ in the district to give

testimony or produce documents ‘for use in a proceeding in a

foreign or international tribunal . . . upon the application of any

interested person.’”            Intel Corp. v. Advanced Micro Devices, Inc.,

542 U.S. 241, 246 (2004) (brackets and ellipsis in original); see

also   In    re   Naranjo,       768   F.3d       332,   338   n.4    (4th      Cir.       2014)

(observing that, under Section 1782, “[a]ny ‘interested person’ may

apply to a district court to obtain documents or testimony from

another     person     ‘for      use   in     a    proceeding        in    a    foreign       or

international tribunal’”).             “[Section 1782] reflects a long-term —

over 150-year — policy of Congress to facilitate cooperation with

foreign countries          by    ‘provid[ing]        federal-court          assistance        in

gathering evidence for use in foreign tribunals.’”                          Servotronics,


     30 Movants raise no arguments regarding the other grounds for
modifying or quashing a subpoena under Rule 45(d)(3). (See Docket
Entry 14 at 1-2.)

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Inc. v. Boeing Co., 954 F.3d 209, 212–13 (4th Cir. 2020) (brackets

in original) (quoting Intel, 542 U.S. at 247).

     As such, “Section 1782 affords the district courts ‘wide

discretion’ in responding to requests for assistance in proceedings

before foreign tribunals.”         Al Fayed v. United States, 210 F.3d

421, 424 (4th Cir. 2000).          “In exercising its discretion under

§ 1782, the district court should be guided by the statute’s twin

aims of providing efficient means of assistance to participants in

international litigation in our federal courts and encouraging

foreign countries by example to provide similar means of assistance

to our courts.”    Id. (internal quotation marks omitted).              As the

United   States   Court    of    Appeals   for   the   Fourth    Circuit   has

explained:

     In deciding whether to grant the application and allow a
     subpoena to issue under the statute, the district court
     considers several factors identified in Intel[,] 542 U.S.
     [at] 246 . . . . This initial application process often
     occurs ex parte . . . . See, e.g., In re Republic of
     Ecuador, No. C-10-80225 MISC CRB (EMC), 2010 WL 3702427,
     at *2 (N.D.Cal. Sept. 15, 2010) (listing cases). Once
     the application is granted and the subpoena is issued,
     the subpoena target can move to quash it. Id.

In re Naranjo, 768 F.3d at 338 n.4.

     In the referenced decision, the United States Supreme Court

identified certain “factors that bear consideration in ruling on a

§ 1782(a) request.”      Intel, 542 U.S. at 264.       Accordingly, once an

applicant    satisfies     the    statutory      requirements,    the    Court

considers:


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      (1) whether the person from whom discovery is sought is
      a participant in the foreign proceedings, or instead, is
      a nonparty outside the foreign tribunal’s jurisdiction
      whose evidence is presumably more dependent on the
      [C]ourt’s assistance; (2) the nature and character of the
      foreign proceedings, and the receptivity of the foreign
      body involved to United States judicial assistance;
      (3) whether the application attempts to circumvent
      foreign proof-gathering restrictions or other policies of
      a foreign country or the United States; and (4) whether
      the requests are unduly intrusive or burdensome [and thus
      should be “trimmed” or rejected outright, id. at 265].

In re Peruvian Sporting Goods S.A.C., No. 18-mc-91220, 2018 WL

7047645, at *3 (D. Mass. Dec. 7, 2018) (citing Intel, 542 U.S. at

264-65).   “Generally speaking, the standards for discovery set out

in   the   [Rules]   also   apply   when   discovery   is   sought   under

§ 1782(a).”    In re Veiga, 746 F. Supp. 2d at 19.

      II. Analysis

      A. Authority Challenge

      As an initial matter, Movants seek to quash the subpoenas on

the grounds that the undersigned Magistrate Judge lacked authority

to grant the Application.       (See Docket Entry 15 at 26-28; Docket

Entry 19 at 10-12.)     In this regard, Movants first assert that “28

U.S.C. § 636(b)(1)(A) authorizes magistrate judges to decide only

‘pretrial matters,’ and Rule 72(a) similarly provides that a

magistrate judge may decide only ‘a pretrial matter not dispositive

of a party’s claim or defense.’”         (Docket Entry 15 at 27 (quoting

Fed. R. Civ. P. 72(a)).)31       In Movants’ view, “[a] Section 1782


      31   Contrary to Movants’ contentions, Rule 72(a) does not
                                                   (continued...)

                                    55




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application is a standalone proceeding that results in an order

granting or denying ultimate relief, so a decision on whether to

grant or deny a Section 1782 application is ‘dispositive’ within

the meaning of Rule 72.”         (Id.)   Movants further contend that,

based on the “analogous context of an enforcement proceeding for an

administrative search warrant,” Section 1782 applications qualify

as “‘dispositive.’”       (Id. (citing “Aluminum Co. of Am., Badin

Works, Badin, N.C. v. EPA, 663 F.2d 499, 502 (4th Cir. 1981)

(‘ALCOA’)”).)      Applicants respond that the undersigned magistrate

judge   “plainly    had   the   authority   to   issue   the   Order   under

applicable statutory law, the Federal Rules, and Fourth Circuit

precedent.” (Docket Entry 17 at 27.) Applicants’ positions should

prevail.

     Under 28 U.S.C. § 636, a magistrate judge may “hear and

determine any pretrial matter pending before the court, except [for




     31(...continued)
specify that a magistrate judge can only decide nondispositive
pretrial matters.     Rather, Rule 72(a) states that “[w]hen a
pretrial matter not dispositive of a party’s claim or defense is
referred to a magistrate judge to hear and decide, the magistrate
judge must promptly conduct the required proceedings and, when
appropriate, issue a written order stating the decision.” Fed. R.
Civ. P. 72(a) (emphasis added). As the Advisory Committee Notes
indicate, Rule 72(a) “addresses court-ordered referrals of
nondispositive matters under 28 U.S.C. § 636(b)(1)(A),” but “does
not restrict experimentation by the district courts under 28 U.S.C.
§ 636(b)(3) involving references of matters other than pretrial
matters.”   Fed. R. Civ. P. 72, Advisory Committee Notes, 1983
Addition, Subdiv. (a).

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eight specified motions],”32 with any such order subject to review

under the “clearly erroneous or contrary to law” standard.                           28

U.S.C. § 636(b)(1)(A). Section 636 further authorizes a magistrate

judge to issue “proposed findings of fact and recommendations for

the disposition, by a [district judge], of any [motion specified in

Section 636(b)(1)(A)], of applications for posttrial relief made by

individuals convicted of criminal offenses[,] and of prisoner

petitions   challenging        conditions    of    confinement.”         28   U.S.C.

§ 636(b)(1)(B) (footnote omitted).           “[S]uch proposed findings and

recommendations” remain subject to de novo review.                        28 U.S.C.

§ 636(b)(1).

     As the Order noted, “‘[c]ourts disagree over whether a Section

1782 proceeding, or a motion thereunder, is a dispositive motion

requiring    the    magistrate       judge        to   issue      a    report    and

recommendation.’” (Docket Entry 7 at 1 n.2 (quoting In re Peruvian

Sporting Goods, 2018 WL 7047645, at *3).)               However, “[t]he great

majority    of   courts   to    address     the    issue   have       found   that    a

magistrate judge has jurisdiction to issue an order on . . .

Section 1782 discovery motions.”             In re: Pons, No. 19-23236-MC,

2020 WL 1860908, at *3, __ F. Supp. 3d __, __ (S.D. Fla. Apr. 13,


     32 Section 636(b)(1) identifies the exempted motions as “a
motion for injunctive relief, for judgment on the pleadings, for
summary judgment, to dismiss or quash an indictment or information
made by the defendant, to suppress evidence in a criminal case, to
dismiss or to permit maintenance of a class action, to dismiss for
failure to state a claim upon which relief can be granted, and to
involuntarily dismiss an action.” 28 U.S.C. § 636(b)(1)(A).

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2020) (collecting cases), aff’d sub nom. Pons v. AMKE Registered

Agents, LLC, 835 F. App’x 465 (11th Cir. 2020); see also, e.g., In

re Hulley Enters. Ltd., 400 F. Supp. 3d 62, 71 (S.D.N.Y. 2019)

(“Neither the Supreme Court nor any circuit court appears to have

squarely addressed this issue.       Most lower courts, however, have

found that such rulings are not dispositive and are therefore

subject to review only for clear error.”) (collecting cases).

     “The Court sees no reason to deviate from this majority view

or to treat this matter differently from other discovery disputes.”

Luxshare, LTD. v. ZF Auto. US, Inc., 547 F. Supp. 3d 682, 687 (E.D.

Mich. 2021), appeal docketed, No. 21-2736 (6th Cir. July 21, 2021).

As the United States Court of Appeals for the Tenth Circuit has

explained:

     [I]n a § 1782 proceeding, there is nothing to be done “on
     the merits.” Section 1782 empowers a district court to
     order a person residing within its district to “give his
     testimony or statement or to produce a document or other
     thing for use in a proceeding in a foreign or
     international tribunal.” 28 U.S.C. § 1782. The only
     issue before the district court is discovery; the
     underlying litigation rests before a foreign tribunal.

Republic of Ecuador v. For Issuance of a Subpoena Under 28 U.S.C.

§ 1782(a), 735 F.3d 1179, 1182 (10th Cir. 2013).

     Thus, “Section 1782 petitions are a special creature in the

law, because they necessarily contemplate that there is or may be

some other proceeding outside the control of the court addressing

the application.”    In re Plowiecki, No. CV 21-23, 2021 WL 4973762,

at *5 (D. Minn. Oct. 26, 2021).     “While ruling on a § 1782 subpoena

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may resolve the entire action before the court to which the

application is addressed, the court’s ruling will not resolve the

entire litigation because a related civil action is pending or in

reasonable contemplation in another country.             This renders an

administrative subpoena duces tecum,” id., as well as an ex parte

administrative search warrant such as in ALCOA, see ALCOA, 663 F.2d

at 500 & n.1, “distinguishable from a § 1782 subpoena because in

the former there is not necessarily a ‘related civil action,’ while

a § 1782 subpoena requires a related proceeding at least ‘in

reasonable contemplation,’” In re Plowiecki, 2021 WL 4973762, at *5

(citation   omitted).     As   such,    “[j]ust   like   rulings    on   most

discovery matters, a § 1782 subpoena is not dispositive on the

claims or defenses of a party.     Because a magistrate judge’s order

on a § 1782 subpoena is nondispositive, it warrants only clear

error review like most other nondispositive orders.”          Id.

     Notably, the majority view aligns with the Fourth Circuit’s

treatment of decisions by magistrate judges authorizing discovery

in aid of foreign proceedings.     See In re Naranjo, 768 F.3d 332; In

re Letter of Request from Amtsgericht Ingolstadt, Fed. Republic of

Ger., 82 F.3d 590 (4th Cir. 1996).        As the Order explained:

     [In the former decision, the Fourth Circuit] affirmed,
     under an abuse of discretion standard, a district court
     judge’s affirmation, under the clearly erroneous or
     contrary to law standard, of a magistrate judge’s grant
     of a Section 1782 application.     See generally In re
     Naranjo, 768 F.3d 332 . . . (explaining that, in ruling
     on Section 1782 application, “the magistrate judge
     ordered [certain individuals] to turn over the documents

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     that they possessed” and, “[o]ver objection, the district
     court affirmed the magistrate judge’s decision in a July
     16, 2013 order,” id. at 341-42; analyzing substantive
     challenges to magistrate judge’s rulings, see id. at 347-
     51; and “affirm[ing] the district court’s order in the
     § 1782 proceeding,” id. at 351, under “the familiar
     abuse-of-discretion standard,” id. at 347); see also
     Chevron Corp. v. Page, No. 8:11cv395, Docket Entry 74 at
     1 (D. Md. July 16, 2013) (overruling objections to
     magistrate judge’s Section 1782 order, “the [c]ourt
     concluding that the challenged [o]rder was neither
     clearly erroneous nor contrary to law”), affirmed In re
     Naranjo, 768 F.3d at 351; 28 U.S.C. § 636(b)(1) (applying
     “clearly erroneous or contrary to law” standard to
     magistrate judge orders on “any pretrial matter” not
     specifically exempted under Section 636(b)(1)(A), and
     applying   de   novo   standard   to   magistrate   judge
     recommendations   on   eight   “motion[s]   excepted   in
     subparagraph (A),” none of which involve Section 1782
     applications).

(Docket Entry 7 at 1 n. 2 (certain brackets in original).)               In

addition, nearly twenty years before In re Naranjo, the Fourth

Circuit similarly affirmed, under an abuse of discretion standard,

a “district court[’s] affirm[ation of a] magistrate’s order” that

“direct[ed an individual] to provide [a] blood sample [requested

for use in a foreign proceeding].”       In re Amtsgericht Ingolstadt,

82 F.3d at 592.

     “A district court would necessarily abuse its discretion if it

based its ruling on an erroneous view of the law . . . .”        Highmark

Inc. v. Allcare Health Mgmt. Sys., Inc., 572 U.S. 559, 563 n.2

(2014) (internal quotation marks omitted); accord United States ex

rel. Drakeford v. Tuomey, 792 F.3d 364, 375 (4th Cir. 2015) (“By

definition, a district court abuses its discretion when it makes an

error of law.” (internal quotation marks omitted)).        Such an abuse

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of discretion would arise if a district court applied an incorrect

standard of review to an appeal from a magistrate judge’s order.

See ALCOA, 663 F.2d at 501-02 (analyzing whether district judge

applied “[]correct standard of review to the magistrate’s report”

and remanding matter where record did not “clearly indicate that

[the district judge] afforded the parties a de novo determination”

rather than applying “‘clearly erroneous or contrary to law’

standard of review” on objections to magistrate judge’s report).

Accordingly, although, as Movants note (see, e.g., Docket Entry 15

at 27 n.9), the Fourth Circuit has not explicitly held that Section

1782 applications qualify as matters which magistrate judges may

determine, it has repeatedly acted consistently with the majority

view that magistrate judges may determine such matters.

     Under the circumstances, Movants’ challenge to the undersigned

Magistrate Judge’s authority to grant the Application does not

warrant any relief.

     B. Joinder Challenge

     Movants   further   assert   that   the   Court   should   quash    the

subpoenas “because the Application improperly joined parties” under

Rule 20, on the theory that “Al Sadeq’s claimed right to relief

arises from his litigation, and Stokoe’s from its; those are not

the same transaction or occurrence.”           (Docket Entry 15 at 28.)

According to Movants, “Applicants do not try to link their claims

[as arising from the same transaction or occurrence], and they


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cannot, because the requests arise from different litigations, and

those litigations arise from different, years-apart events.                 The

Court should not have considered their applications together.”

(Docket Entry 19 at 14.)        As such, Movants assert that “[t]he

subpoenas should not have been authorized in a joint proceeding;

they should be quashed, the proceedings severed under Rule 21, and

new separate applications considered afresh.”            (Docket Entry 15 at

29.)    Applicants respond that they properly joined their Section

1782    requests    because   “[t]he        relief   [they]   sought   in   the

Application arose out of the same ‘series of transactions or

occurrences’” (Docket Entry 17 at 28 (quoting Fed. R. Civ. P. 20)).

(See id. at 27-28.)      Applicants’ position possesses merit.

       As relevant here, Rule 20 authorizes joinder of parties “as

plaintiffs if . . . they assert any right to relief jointly,

severally, or in the alternative with respect to or arising out of

the same transaction, occurrence, or series of transactions or

occurrences.”      Fed. R. Civ. P. 20(a)(1)(A) (emphasis added).33          For

its part, Rule “21 governs misjoinder of parties[;]” however, “[i]n

determining whether parties are misjoined, the joinder standards of

Rule 20 apply.”     Hanley v. First Invs. Corp., 151 F.R.D. 76, 77-78

(E.D. Tex. 1993).



     33 Movants do not dispute that “a[] question of law or fact
common to all plaintiffs will arise in the action,” Fed. R. Civ. P.
20(a)(1)(B). (See Docket Entry 15 at 28-29; Docket Entry 19 at 13-
14.)

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       “The     joinder    provisions   of   the   Federal    Rules   are    very

liberal.”       Kedra v. City of Phila., 454 F. Supp. 652, 661 (E.D. Pa.

1978). As the Supreme Court has explained, “[u]nder the Rules, the

impulse is toward entertaining the broadest possible scope of

action consistent with fairness to the parties; joinder of claims,

parties and remedies is strongly encouraged.”             United Mine Workers

of Am. v. Gibbs, 383 U.S. 715, 724 (1966).34             “The purpose of [Rule

20]   is   to    promote    trial   convenience    and    expedite    the   final

determination of disputes, thereby preventing multiple lawsuits.”

Mosley v. General Motors Corp., 497 F.2d 1330, 1332 (8th Cir.

1974); see also Kedra, 454 F. Supp. at 661 (“The reason for the

liberality [of joinder] is that unification of claims in a single

action is more convenient and less expensive and time-consuming for

the parties and the court.”).

       Accordingly, “Rule 20 permits joinder of ‘all reasonably

related claims for relief by or against different parties.’”

Courthouse News Serv. v. Schaefer, 2 F.4th 318, 325 (4th Cir. 2021)

(quoting Mosley, 497 F.2d at 1333); see also id. (explaining that

“absolute identity of all events is unnecessary for joinder”

(brackets and internal quotation marks omitted)). Under this test,

“two claims arise from the same transaction — and therefore can be


     34 Thus, “the scope of the civil action is made a matter for
the discretion of the district court, and a determination on the
question of joinder of parties will be reversed on appeal only upon
a showing of abuse of that discretion.” Mosley v. General Motors
Corp., 497 F.2d 1330, 1332 (8th Cir. 1974).

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joined in the same action — when there is a ‘logical relationship’

between    them.”        Id.;     see   also   Mosley,    497     F.2d    at   1333

(“‘“Transaction” is a word of flexible meaning.                 It may comprehend

a series of many occurrences, depending not so much upon the

immediateness       of    their    connection     as     upon     their    logical

relationship.’” (quoting Moore v. New York Cotton Exch., 270 U.S.

593, 610 (1926))).

     The requisite “logical relationship” exists here.                     The Al

Sadeq Litigation alleges that Gerrard and Dechert conspired with

the Ruler and Page (among others) to, inter alia, interfere with Al

Sadeq’s access to legal representation.            (See, e.g., Docket Entry

4, ¶¶ 5, 9-12; Docket Entry 16-1, ¶¶ 60-67, 207-16, 228B, 232-33,

239.)     The Amended Al Sadeq Claim specifically alleges that, as

part of this conspiracy, those individuals interfered with Stokoe’s

ability to represent Al Sadeq in the Al Sadeq Litigation, including

by overt and covert surveillance of Stokoe and attempts to obtain

Stokoe’s confidential information. (See Docket Entry 16-1, ¶¶ 215-

216 (discussing, inter alia, Stokoe’s Hacking Claims).)                   In turn,

the Grayson Proceeding seeks recourse against Page, Gerrard, and

Dechert (among others) for this overt and covert surveillance and

attempts    to   obtain    Stokoe’s      confidential     information.         (See

generally Docket Entry 16-2.)           Accordingly, a logical relationship

exists between Applicants’ claims, rendering joinder appropriate.

See, e.g., Nor-Tex Agencies, Inc. v. Jones, 482 F.2d 1093, 1094,


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1100 (5th Cir. 1973) (upholding joinder of claims by plaintiff Nor-

Tek against defendant Jones, by plaintiff Riley against defendants

Jones and Owen, and by defendant Owen against defendant Jones,

explaining that “Jones’s scheme to defraud Nor-Tex was only one

chapter in a larger plot to also defraud Riley and Owen”); Kedra,

454    F.   Supp.   at   662   (“Although    the   events   giving   rise   to

plaintiffs’ claims in this case occurred over a lengthy time

period, they all are ‘reasonably related.’              The complaint sets

forth a series of alleged unlawful detentions, searches, beatings

and similar occurrences and charges defendants with ‘engag(ing) in

a systematic pattern of harassment, threats and coercion with the

intention of . . . depriving plaintiffs of (their) rights’; each of

the incidents set forth is encompassed within the ‘systematic

pattern.’” (ellipsis in original)).              As such, Movants’ joinder-

related arguments do not justify quashing the subpoenas.

       C. “For Use” Challenge

       Movants additionally contend that “Applicants should not be

allowed to compel the discovery they seek here because it is

speculative and not relevant to either of the underlying foreign

litigations.”       (Docket    Entry   15   at   10.)   Therefore,   Movants

maintain, the requested discovery “does not satisfy either Section




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1782’s ‘for use’ requirement or Intel’s burden analysis.”          (Id.)35

Movants’ arguments fall short.

     As an initial matter, Movants raise a number of evidentiary

objections in connection with this challenge to the subpoenas.

Movants first assert:

          Applicants’ reliance on the English appellate
     court’s description of evidence submitted in unconnected
     proceedings in Azima’s appeal was improper, and that
     material does not and cannot support granting the
     discovery that Applicants seek. Contra Order at 17-19.
     The appellate court’s description of that declaration is
     not evidence with respect to Movants. Movants are not
     parties to that litigation, and the appellate court’s
     (threshold) decision has zero res judicata or collateral
     estoppel effect as to them. The declaration itself is
     not before the Court, because Applicants did not submit
     it. If that declaration had been submitted in connection
     with a U.S. proceeding (let alone in a U.S. appeal), it
     would have been rejected because it is the self-serving
     hearsay statement of a paid investigator for Azima
     reporting the double-hearsay account of an anonymous
     source accusing Movants of wrongdoing.




     35 As to their latter assertion, Movants state that, under
the final Intel factor,

     [o]verbreadth and burden are determined by applying the
     familiar standards of Rule 26, which permits only
     discovery that is “proportional to the needs of the
     case.” The discovery must be important enough to the
     claims or defenses at issue in the underlying foreign
     proceeding that the burden and expense of discovery are
     justified. A request that is “only marginally relevant”
     should be denied.

(Id. at 12 (citations omitted); see also id. at 11.) Movants do
not otherwise distinguish between their Section 1782 “for use” and
Intel relevance-related arguments. (See id. at 10-23; Docket Entry
19 at 4-10.)

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(Docket Entry 15 at 18-19.)               Notably, Movants provide no authority

for    the       proposition      that    consideration            of   the   UK    “court’s

description of evidence submitted” to that court “was improper”

(id. at 18).         (See id. at 18-19.)          In any event, the cited portion

of    the    Order     contains    no     mention      of    a    declaration       involving

anonymous        sources   accusing        Movants      of       anything,    let    alone   a

“self-serving hearsay statement of a paid investigator for Azima

reporting        the   double-hearsay        account         of    an   anonymous     source

accusing Movants of wrongdoing” (id. at 19).                         (See Docket Entry 7

at 17-19.)         Accordingly, this evidentiary challenge lacks merit.

       Movants next object to the Court’s consideration of Page’s

threat      to    implicate    Del       Rosso,   as    recounted        in   the    Ruler’s

attorney’s letter, in ascertaining whether the requested discovery

from Del Rosso bears relevance to Applicants’ lawsuit against Page.

(See Docket Entry 15 at 20.)               However, the Court need not resolve

Movants’ challenge to consideration of the letter, as the Amended

Grayson Claim contains allegations regarding Page’s threat to

implicate Del Rosso, Gerrard, the Ruler, and Dechert in the Grayson

Proceeding (see Docket Entry 16-2, ¶¶ 19A, 19C(9)), and Movants

have not suggested that the Court must refrain from considering the

Amended Grayson Claim in determining the relevance of the requested

discovery to, inter alia, the Grayson Proceeding (see Docket Entry

15 at 20; see also Docket Entry 19 at 6-7).                       Thus, this evidentiary

challenge entitles Movants to no relief.


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       Movants also challenge the Robinson materials that Applicants

submitted in opposition to the Motion. (See Docket Entry 19 at 14-

15.)    In this regard, Movants first assert that “the new Robinson

material submitted is irrelevant because it deals with 2020 events

and fails to support Applicants’ position that the 2015-2017

material sought is relevant to their proceedings.”           (Id. at 14.)

This assertion depends on a faulty premise underlying many of

Movants’ arguments, namely that the subpoenas seek only discovery

from 2015 to 2017.     (See, e.g., Docket Entry 15 at 20-21 (arguing

that “even if” Page’s threat to implicate Del Rosso “did credibly

suggest that Movants had some involvement in the 2020 conduct that

Stokoe complains of, it still would not support the 2015-to-2017

discovery Applicants seek here, because Applicants do not seek

discovery    related   to   that   2020   conduct,”   but   instead   “seek

historical information from years ago involving Movants’ dealings

with CyberRoot”).)

       The subpoenas command Movants to participate in depositions

and produce certain documents.      (See generally Docket Entries 3-1,

3-2.)    The document requests span the period from “July 1, 2015

through September 30, 2017” (Docket Entry 3-1 at 7; Docket Entry 3-

2 at 7) and relate to Movants’ interactions with CyberRoot during

that period (see Docket Entry 3-1 at 7-8; Docket Entry 3-2 at 7-8).

However, the depositions span “the period from January 1, 2015 to

the date of [Movants’] deposition” (Docket Entry 3-1 at 5; Docket


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Entry 3-2 at 5) and, although they focus on Movants’ work with

CyberRoot, they do not limit permissible deposition subjects solely

to such work (see generally Docket Entries 3-1, 3-2).             Thus, for

instance, Applicants could solicit Del Rosso’s testimony “as to who

he was receiving his instructions from when he was instructing

Robinson through Grayson in 2019 and 2020,” as well as regarding

“what he paid CyberRoot $1 million for in or about 2015” (Docket

Entry 17 at 23).     Accordingly, to the extent that Movants’ various

arguments depend on construing the subpoenas to seek only discovery

regarding Movants’ interactions with CyberRoot between 2015 and

2017, they fail.36

     Movants   further    contend    that   portions   of   the    Robinson

Declaration    and   supporting     exhibits   constitute    inadmissible

hearsay.   For instance, they assert that Robinson’s “foreign-sworn

affidavit” attached as Exhibit A to the Robinson Declaration “is

hearsay not within any exception” because “[i]t is not apostilled

as required for foreign affidavits to be recognized under the Hague



     36 This includes, inter alia, Movants’ relevance objection to
the Robinson Declaration materials (see Docket Entry 19 at 14) and
their contention that Page’s alleged threat to implicate Del Rosso
does not support the requested discovery (see, e.g., Docket Entry
15 at 21 (“Neither Stuart Page’s putative comments, nor any other
evidence in any other proceeding, links CyberRoot to any 2020
conduct having to do with Stokoe.      So Stuart Page’s reported
threats do nothing to suggest that the discovery actually sought
here could potentially be relevant to the conduct of which Stokoe
complains. Without a link between Page’s reported comment and the
discovery that is sought, that comment does not support the
Application.”)).

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Convention Abolishing the Requirement of Legalisation for Foreign

Public Documents, and does not otherwise subject the signatory to

U.S. perjury      penalties     as   required      under   28       U.S.C.    § 1746.”

(Docket Entry 19 at 14.) The referenced Hague Convention addresses

procedures     for    certifying     the    authenticity       of    foreign     public

documents, see T.I.A.S. No. 10072, 33 U.S.T. 883, 1981 WL 375769,

and   Movants    do   not    challenge      the    authenticity       of     Robinson’s

affidavit (see Docket Entry 19 at 14).               Moreover, 28 U.S.C. § 1746

requires only unsworn foreign documents to subject the signatory to

U.S. perjury penalties, see 28 U.S.C. § 1746(1), and the affidavit

reflects that Robinson made the affidavit under oath (see Docket

Entry 18-2 at 2, 9). Accordingly, Movants’ hearsay challenges fail

to justify exclusion of the Robinson affidavit.37

       Next,   Movants      object   to    certain    “out-of-court          statements

asserted for their truth” in Robinson’s Declaration.                    (Id. at 14.)

Specifically, Movants assail as hearsay Robinson’s assertion that

Grayson informed Robinson “that he had only recently returned from

visiting Mr Del Rosso in North Carolina” and “that Mr Del Rosso

would    be    responsible     for   paying       [Robinson]    for     the     Grayson

enquiries” (Docket Entry 18, ¶ 11).                (See Docket Entry 19 at 14



     37 Movants also assert that the witness statement attached as
Exhibit B to the Robinson Declaration (see Docket Entry 18-3) “is
unsworn” and does not subject Robinson to penalty of perjury under
U.S. law, rendering it “hearsay not within any exception.” (Docket
Entry 19 at 15.) As this Memorandum Opinion does not cite to that
exhibit, the Court need not resolve this hearsay issue.

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(challenging “Dkt. 18 ¶ 11 (statements by Patrick Grayson)”).)

They also challenge Robinson’s description of the narratives in the

July 10, 2019, and March 16, 2020, invoices that Robinson avers he

submitted to Del Rosso (see Docket Entry 18, ¶ 15; Docket Entry 19

at   14   (challenging    Docket   Entry   18,    “¶    15   (reciting   hearsay

portions of     Exhibit   D)”)),    as   well    as    consideration     of   “the

purported invoices dated November 1, 2019 and February 26, March

16, April 2, April 9 and June 7, 2020” in Exhibit D to the Robinson

Declaration (see Docket Entry 19 at 15).              Finally, Movants assert

that the Court cannot consider Lowe’s statements to Robinson that

Lowe would speak with Del Rosso and would offer Robinson security

and conduct counter-surveillance on Robinson’s behalf, for which

Robinson “would not have to pay” (Docket Entry 18, ¶ 21).                     (See

Docket Entry 19 at 14 (challenging “Mr. Lowe’s statements” (citing

Docket Entry 18, ¶ 21)).)     The Court need not resolve these hearsay

challenges, for, as shown below, exclusion of the challenged

materials does not impact resolution of the Motion.

      Turning to their substantive objections, Movants assert that

the requested discovery does not satisfy Section 1782’s “for use”

requirement and lacks relevance to the Foreign Proceedings.                   (See

Docket Entry 15 at 10-23; Docket Entry 19 at 4-10.)              In support of

this argument, Movants contend, as relevant here, that (i) “there

is zero evidence, and no allegation, that [Movants] were involved

in the torts at issue [in the Foreign Proceedings]” (Docket Entry


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15 at 12); (ii) “the requested discovery is not ‘for use’ abroad

because the foreign claims do not involve hacking” (id. at 13

(emphasis omitted)); (iii) “Azima’s fraud and Azima’s emails are

irrelevant to Al Sadeq’s frauds and imprisonment” (id. at 18); and

(iv) “Applicants’ claims of a nefarious nexus between Movants and

their defendants are too vague” (id. at 21 (emphasis omitted)).

Applicants respond that, “[c]ontrary to Movants’ contentions, the

information   sought   by   the   subpoenas   to   Del   Rosso   and   Vital

Management is plainly ‘for use’ in the Foreign Proceedings under

the applicable standard, and is relevant to the claims and defenses

in both the Al Sadeq Litigation and the Grayson Proceeding.”

(Docket Entry 17 at 15.)     Applicants’ position should prevail.

     As noted, Section 1782’s “for use” statutory requirement

imposes only a “de minimis” burden upon an applicant.        In re Veiga,

746 F. Supp. 2d at 18 (collecting cases).       In turn, Rule 26 governs

determination of relevance and burden under Intel’s discretionary

factors.   See, e.g., id. at 19 (“Generally speaking, the standards

for discovery set out in the [Rules] also apply when discovery is

sought under § 1782(a)”).38       “Relevancy in this context is broadly

construed and encompasses any material that bears on, or that

reasonably leads to other matters that could bear on, any issue

that is or may be in the case.”           Id. (internal quotation marks


     38 Indeed, Movants have acknowledged that “[o]verbreadth and
burden are determined by applying the familiar standards of Rule
26” (Docket Entry 15 at 12).

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omitted); see also In re Application of Sveaas, 249 F.R.D. 96, 103

(S.D.N.Y. 2008) (“[R]elevance is defined extremely broadly for the

purpose of determining whether to grant a request for discovery in

aid of a foreign proceeding, and a district court should treat

requests for discovery in aid of foreign proceedings, under section

1782, permissively, especially where, as here, the discovery is

sought from a non-party to the foreign actions.”).

     Here, the record reflects that, inter alia, Al Sadeq alleges

that Gerrard, Dechert, the Ruler, and others violated UAE and

international law, including Al Sadeq’s human rights, during their

investigation “into the affairs of RAKIA and an alleged fraud

committed by its former [CEO ]Dr. Massaad” (Docket Entry 16-1, ¶ 8)

and other alleged coconspirators, including Al Sadeq, Azima, and

Mikadze (id., ¶ 9.5).    (See, e.g., Docket Entry 4, ¶¶ 2, 4; Docket

Entry 16-1, ¶¶ 1, 8-10; see also Docket Entry 4-2, ¶ 14 (“RAKIA

claims that in around late 2012 it discovered that Dr Massaad had

perpetrated systematic and wide-ranging frauds against RAKIA and

other RAK entities.     Subsequent investigations undertaken by the

Government of RAK are said to have established that between around

2005 and 2012 Dr Massaad and his associates engaged in an unlawful

conspiracy to misappropriate monies and otherwise cause losses

exceeding $2 billion.”).)39      More specifically, Al Sadeq alleges


     39 Al Sadeq, Dr. Massaad, and Mikadze all worked for RAKIA,
with Mikadze serving as the “General Manager of RAKIA’s Georgia
                                                  (continued...)

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that Dechert Defendants violated his “rights, including by using

threats and / or mistreatment and / or unlawful methods to force Mr

Al Sadeq to give evidence and / or false evidence, as more

specifically particularised [in the Amended Al Sadeq Claim], in an

attempt    to   build   a   case    against    Dr   Massaad   and    his   alleged

co-conspirators at the behest of the [R]uler of RAK.”                      (Docket

Entry 16-1, ¶ 10.)        “Al Sadeq denies any involvement in wrongdoing

and   maintains    that     the    charges    against   him   were   politically

motivated on the part of the Ruler of RAK in an attempt to conceal

the Ruler’s own close involvement in RAKIA’s activities and that he

was convicted on the basis of false confessions obtained from him

under duress by [Dechert] Defendants.”              (Id., ¶ 1.)

       In particular, Al Sadeq has alleged the following:

       Although RAKIA “was established” by government decree “in

order to promote investment in RAK and to promote various economic

sectors in the Emirate” (id., ¶ 14), “by around 2010 RAKIA had,

with the full knowledge and approval of the Ruler, very significant

investment interests outside RAK, particularly in Georgia” (id.,

¶ 17).    From 2005 until approximately 2012, Dr. Massaad served as

RAKIA’s CEO, controlling the “day to day management of RAKIA” and


     39(...continued)
operations” (Docket Entry 16-1, ¶ 9.5), Al Sadeq serving as legal
adviser, Group Legal Director, and, ultimately, Deputy Chief
Executive Officer of RAKIA between 2008 and 2012 (id., ¶ 35), and
Dr. Massaad serving as the CEO (id., ¶ 8). Al Sadeq, Dr. Massaad,
Mikadze, and Azima all worked on the sale of RAKIA assets in
Georgia. (See, e.g., Docket Entry 4-2, ¶¶ 168-171.3.)

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“developing investment strategies and taking investment decisions

with the knowledge, approval, and instructions of the Ruler” (id.,

¶ 15).     For various political, familial, and economic reasons

beginning around 2008, the Ruler directed that RAKIA should “divest

itself of its foreign investments” (id., ¶ 21), a sudden change in

investment policy that “led to the rushed sale of assets in Georgia

at a premature stage with a detrimental effect on the return

obtained from them” (id.). During his tenure at RAKIA, “Al Sadeq’s

responsibility was mainly to finalise deals to sell assets in order

to return monies that had been invested outside of RAK to the

Emirate, pursuant to th[is] revised strategy required by the Ruler

from around 2008 onwards.”    (Id., ¶ 37.)    “At all material times Mr

Al Sadeq acted on instructions from Dr Massaad which to the best of

his knowledge, in all significant respects, were known to and had

been approved or given by the Ruler himself.”       (Id.)   However, the

Ruler “denied that he ever told Dr Massaad or anyone else to play

any role in the sale of . . . [any] assets owned by any RAK

entity.”   (Docket Entry 4-2, ¶ 173.3.)

     Following the Ruler’s revision in investment strategy, a rift

developed between the Ruler and Dr. Massaad (see Docket Entry 16-1,

¶¶ 15-25), who “left RAK in around June 2012, on good terms and

without any suggestion of wrongdoing,” and “returned to the UAE on

several occasions thereafter until August 2014, including for

meetings with the Ruler.”    (Id., ¶ 25.)    In approximately 2014, the


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Ruler learned that one of his estranged brothers, Sheikh Faisal,

invested in Dr. Massaad’s business.       (See id., ¶¶ 23, 26-27.)       “As

a result, the Ruler became concerned that Dr Massaad was working

with Sheikh Faisal and / or Sheikh Khaled in order to destabilise

the Ruler, and that Sheikh Faisal and / or Sheikh Khaled were

plotting to remove the Ruler with the assistance of Abu Dhabi.”

(Id., ¶ 27.)40    Accordingly, in August 2014, Dechert hired Vital

Management “to investigate assets potentially stolen from the

Government   of   [RAK].      Pursuant    to   its     engagement[,    Vital

Management] examined potential frauds committed by, amongst others,

[Dr.] Massaad.”    (Docket Entry 4-4, ¶ 4.)          “[S]ince 2014, August

2014, [Del Rosso has] been involved somewhere in this massive

investigation,” in a “role [that] was directed by Dechert” (Docket

Entry 4-5 at 27), “[p]rincipally” by Gerrard (id. at 6).                  In

pursuing   this   investigation,    Del   Rosso      has   primarily   taken

instruction from Dechert, Gerrard, and, to a lesser extent, Hughes

(id. at 6), but has also had direct contact with “Buchanan and

other representatives of the RAK government” (Docket Entry 4-4,

¶ 4).   (See, e.g., id., ¶¶ 4-7.)

     Around 1 a.m. on September 5, 2014, agents with the RAK State

Security Investigations kidnapped Al Sadeq from his home in Dubai



     40    Notably, the Ruler first engaged Page to conduct
surveillance on Sheikh Khalid between 2008 and 2010 due to the
Ruler’s concerns that Sheikh Khalid might try to destabilize the
Ruler’s position as Crown Prince. (See Docket Entry 4-2, ¶ 260.)

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and took him to RAK, where he was initially detained in solitary

confinement at the General Headquarters of State Security in RAK

without access to a lawyer.           (See Docket Entry 16-1, ¶¶ 9.3, 41-

50.)    “During this initial period of detention immediately after

his kidnap from Dubai and rendition to RAK, . . . [Al Sadeq] was

questioned by, inter alios, Mr Gerrard, in an aggressive fashion

and    it   was   made   clear   to    him   that   the   objective   of   the

interrogation was for him to ‘cooperate’ by giving information

falsely to implicate, in particular, Dr Massaad, Mr Quzmar, Mr

Mikadze, Mr Azima and their alleged co-conspirators.” (Id., ¶ 51.)

For months thereafter, Dechert Defendants and others continued

their mistreatment of Al Sadeq, including his arbitrary detention

in inhumane conditions, interference with his access to lawyers,

and abusive interrogations (among other wrongs), attempting to

secure his cooperation in the Ruler’s vendetta against Dr. Massaad

and his alleged coconspirators, including Azima and Mikadze. (See,

e.g., id., ¶¶ 52-154.)41         “The Ruler’s motive in pursuing his



     41   As part of this campaign, Gerrard asked Al Sadeq to
provide “false evidence that Mr Azima was manipulating an aviation
firm in RAK called RAK HeavyLift in order to use it [as] a
gun-running vehicle” (id., ¶ 125.1), as well as “false evidence
stating that Dr Massaad, Mr Mikadze and Mr Azima had embezzled
money from the Poti Port project and a shopping centre project in
Georgia, as a cover to hide the fact that the embezzlement had been
carried out by persons known to, and with the knowledge and
approval of, the Ruler (and not by Dr Massaad, Mr Mikadze and Mr
Azima at all)” (id., ¶ 125.2). (See id., ¶¶ 125-125.2.) RAKIA
sued Azima for alleged fraud involving RAK HeavyLift in the Azima
Litigation. (See, e.g., Docket Entry 4-2, ¶¶ 3-7, 18-21.)

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vendetta is both to punish Dr Massaad for his supposed disloyalty

by destroying his reputation and discrediting him, and also to

attempt to conceal the Ruler’s own personal knowledge and direction

of RAKIA’s foreign investments for his own personal and political

benefit in the years before his accession.”                    (Id., ¶ 29.)

     Following        Al    Sadeq’s    kidnapping,       Dechert    Defendants,      the

Ruler, and others repeatedly warned Al Sadeq’s wife “not to involve

the press or lawyers in relation to Mr Al Sadeq’s situation.”

(Id., ¶ 60; see also, e.g., id., ¶¶ 72, 101.)                      However, by March

2015, the Ruler and Dechert Defendants discovered that a journalist

had contacted         Mrs.   Al     Sadeq,    who   continued      contact    with   the

journalist despite warnings from the Ruler’s assistant and Black.

(See id., ¶¶ 142.2-142.3.) The warnings from the Ruler’s assistant

and Black suggested that they had access to Mrs. Al Sadeq’s emails

with the journalist, causing Mrs. Al Sadeq to “conclude[] that her

email   account       had    been    hacked    by   or   on   behalf   of    [Dechert]

Defendants,”      a    suspicion      confirmed     by   the    Ruler’s      subsequent

discovery that, contrary to her reassurances, “Mrs Al Sadeq had not

in fact broken off all contact with [the journalist], a fact that

Mrs Al Sadeq considered Dechert and the Ruler could only have known

had they had access to her emails.”                 (Id.)     Subsequently,

     as a result of the treatment, threats and pressure being
     applied to him and Mrs Al Sadeq, and as a result of the
     promises he would be released and pardoned if he
     cooperated, Mr Al Sadeq had finally agreed in principle
     by about the third quarter of 2015 that he would
     “cooperate” by making a false confession and giving false

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     evidence   against    Dr   Massaad    and   his   alleged
     co-conspirators including Mr Quzmar, Mr Mikadze and Mr
     Azima so long as he had sufficient binding assurances, in
     writing, that he would be released and pardoned, and that
     his family would be allowed to continue their lives as
     before if he did so.

          Mr Al Sadeq had at this time come to accept, as he
     had been repeatedly told by Mr Gerrard and Mr Hughes,
     that the only possibility for his release and the safety
     of his family was to provide them with the “cooperation”
     they sought by making false confessions and giving the
     evidence [Dechert] Defendants wanted him to give. It was
     his intention, once he was released, however, to reveal
     how he had been treated and forced to confess, and to
     clear his name.

(Id., ¶¶ 154-155 (internal paragraph numbering omitted).)

     On or after August 31, 2015, Buchanan “contacted Mrs Al Sadeq

and told her that the Ruler had agreed that Mr Al Sadeq would be

released   and   pardoned,   subject    to   Mr   Al   Sadeq    agreeing   to

‘cooperate,’” but indicated that this “agreement would only be

available orally and could not be put in writing.”             (Id., ¶ 165.)

On September 2, 2015, Buchanan informed Al Sadeq and his wife that

the Ruler, at a meeting with Buchanan and Dechert, had agreed that

“if Mr Al Sadeq ‘cooperated’ in whatever ways Dechert required to

their satisfaction and signed confession statements, he would be

released from prison on bail to a house in RAK in due course, his

family being obliged to surrender their passports, although he

would not be permitted to leave the country until after he had

finished assisting with trials at which point he would be granted

a pardon and permitted to leave RAK” (id., ¶ 168).                (See id.,

¶¶ 167, 169.)    Thereafter,

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     Al Sadeq began to “cooperate” with [Dechert] Defendants,
     even in the absence of anything in writing, in the
     (ultimately vain) hope that he would be released if he
     did so. Mr Al Sadeq, considering that his life was in
     danger if he remained at Al Barirat[, the Ruler’s private
     militia camp (id., ¶ 105)], felt that he had been left
     with no other choice and was no longer able to endure the
     torments and torture heaped upon him, directly or
     indirectly, by or on the instructions of [Dechert]
     Defendants, and Mr Gerrard in particular. In substance,
     he therefore agreed to the proposal made by Mr Buchanan
     at the 2 September 2015 Meeting, thereby concluding an
     agreement on those terms (the “False Confession
     Agreement”) with the Ruler via Mr Buchanan. In doing so
     Mr Al Sadeq relied upon the promise made by the Ruler and
     [Dechert] Defendants and Mr Buchanan inter alia that he
     would be released and pardoned.

(Id., ¶ 173 (emphasis omitted).)

     The False Confession Agreement required Al Sadeq “to assist

Dechert with their enquiries on an ongoing basis, in particular by

giving false evidence, which evidence [Dechert] Defendants knew to

be false, against Dr Massaad, Mr Quzmar, Mr Mikadze, Mr Azima and

alleged co-conspirators and wrongly distancing the Ruler from any

knowledge about RAKIA’s offshore investment activities, which had

always been done with his knowledge or on his instructions, and

ultimately for his personal benefit in the years before and after

his accession.”    (Id., ¶ 179.)    Consistent with that requirement,

     and following several further months of being pressurised
     by [Dechert] Defendants for false testimony and without
     the benefit of legal advice, Mr Al Sadeq eventually
     signed statements confessing to his involvement in
     alleged fraud concerning Pioneer Cement Industries LLC,
     a company part-owned by RAKIA, and Poti Port in Georgia
     (respectively the “False Confession Statements”), and
     incriminating, inter alios, Dr Massaad and Mr Mikadze.
     Those statements had been drafted by Mr Hughes and
     approved by Mr Gerrard. Mr Al Sadeq was not given, or

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     allowed to read, the statements in their entirety at any
     point, but parts of the statement were read out to him by
     Mr Hughes. Additionally, he was asked to sign at least
     ten blank sheets of paper which, it is to be inferred,
     was so that those unique signatures could be falsely
     applied to additional statements and / or documents.

(Id., ¶ 183 (emphasis omitted).)

     Versions of these False Confession Statements produced to an

Italian Court pursuant to an extradition request for another

alleged coconspirator, Shahab Izadpanah, identify these sales as

involving “similar fraud[s]” (id., ¶ 183.2; see also id., ¶ 184A

(noting, in Italian extradition judgment, that “[t]he Supplement to

the extradition request of January 3, 2016 (point 18) provides the

unsettling assumption that ‘it is expected that Al Sadeq’, after

having rendered his statements regarding the ‘PSP case’, ‘shall

release an equivalent statement with respect to a similar instance

of fraud regarding Pioneer Cement’ (italicization and track-change

formatting omitted))).    (See id., ¶¶ 183A-183.4, 184A.)42      Notably:

     Al Sadeq had also made clear to, inter alios, Mr Gerrard,
     Ms. Black, Mr Hughes and Mr Buchanan that the contents of
     th[e False Confession S]tatements were substantially
     untrue. As to this, for example, each of the [False]
     Confession Statements states:




     42 The Italian Court denied the extradition request and noted
both that questions exist regarding “the spontaneity with which Al
Sadeq’s statement [regarding the Pioneer Cement incident] would be
rendered” and that the Supplement’s assertion regarding Al Sadeq’s
release of the False Confession Statement regarding Pioneer Cement
casts “doubt on the manner in which evidence was obtained in the
case in question.” (Id., ¶ 184A (italicization and track-change
formatting omitted).)

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          that Mr Al Sadeq had had the benefit of legal advice
     in relation to the statement.       That was untrue and
     [Dechert] Defendants knew it to be untrue because they
     had refused to allow Mr Al Sadeq’s lawyer, Dr Al Shamsi,
     to read the False Confession Statements and had refused
     him any access to Mr Al Sadeq in relation to the False
     Confession Statements; and they had also at various times
     forced Mr Al Sadeq against his will to sign statements
     waiving   the   right   to   legal    representation   at
     interrogations as described [in the Amended Al Sadeq
     Claim]; and on one occasion had forced Mr Al Sadeq to
     call Dr Al Shamsi and tell him that he did not require
     him to attend court or represent him, even though by that
     stage Dr Al Shamsi had ceased to act, or in reality to
     attempt to act, for Mr Al Sadeq.

          [Similarly, the False Confession Statements state]
     that the Ruler was unaware of the arrangements and
     transactions said to constitute wrongdoing on the part of
     Dr Massaad and Mr Al Sadeq. This was untrue, as Mr Al
     Sadeq had told Mr Gerrard, Ms Black, Mr Hughes and Mr
     Buchanan repeatedly. The Ruler had had contemporaneous
     knowledge of all the relevant aspects of the transactions
     about which complaint was made and had approved and/or
     directed them. That fact would have provided Mr Al Sadeq
     (and Dr Massaad) with a defence to the claims brought
     against them which, it is to be inferred, is why it was
     important to the Ruler and [Dechert] Defendants that Mr
     Al Sadeq give false evidence in this respect.

(Id., ¶¶ 184-184.2 (internal paragraph numbering omitted).)

     In accord with the False Confession Agreement, in April 20,

2016, “Al Sadeq was transferred to the second floor of a two-storey

villa in Al Hamrah village in RAK (the ‘Villa Prison’), where he

was detained until around August 2016.           The Villa Prison was

secured with bars on the windows and a security door, and Mr Al

Sadeq was not allowed to leave the Prison Villa.”          (Id., ¶ 199.)

However, around August 16, 2016, following the publication of the

False Confession Statements, as discussed below, “Al Sadeq was


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returned to RAK Central Prison, where he has remained ever since.”

(Id., ¶¶ 208, 212-213.)       “Since August 2016 Mr Al Sadeq’s access to

legal representation has been severely restricted, and he has only

been allowed to meet with Mr Al Haddad[, his local counsel (id.,

¶ 208),] on a handful of occasions.”           (Id., ¶ 214.)

     Between the fall of 2015 and July 2016, Azima represented Dr.

Massaad in negotiations with Buchanan, Gerrard, and Dechert acting

on behalf of RAKIA.       (See Docket Entry 4-2, ¶ 49.)              One such

meeting occurred on July 16, 2016, between Buchanan, Gerrard, and

Azima.     (Id., ¶ 50.)   “This meeting took an acrimonious turn,”

although the participants dispute “precisely what was said.” (Id.)

“According to Mr Azima, Mr Gerrard threatened him that if Dr

Massaad could not be made to agree to a settlement, then RAKIA

would pursue Dr Massaad, and Mr Azima would be rendered ‘collateral

damage’.    This is disputed by RAKIA.”         (Id.)     “[A] few days after

the July 2016 meeting” (id., ¶ 51), at the Ruler and Dechert’s

direction, Buchanan solicited the creation of an Anti-Massaad

Website “as propaganda supporting the Ruler’s continuing vendetta

against Dr    Massaad   and    efforts    to   distance    himself   from   the

investment activities of RAKIA in the years during which Dr Massaad

was its CEO despite his own intimate involvement in these” (Docket

Entry 16-1, ¶ 205).     “On around 29 July 2016 the False Confession

Statements were published on the” Anti-Massaad Website, which

“contained serious allegations made against Dr Massaad, which it


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claimed were corroborated by the False Confession Statements.”

(Id., ¶ 204.) “The Anti-Massaad Website ceased to be accessible on

the internet on around 11 August 2016.”           (Id., ¶ 206.)

     Following publication of the False Confession Statements on

the Anti-Massaad Website, “in early August 2016, blogging websites

began appearing denigrating Mr Azima as a ‘fraud’ and a ‘scammer’

and linking to websites containing Mr Azima’s confidential emails

which appeared at around the same time.”               (Docket Entry 4-2,

¶ 51.)43   These emails were obtained through hacking and implicate

Al Sadeq in additional instances of alleged fraud regarding the

sale of RAKIA’s Georgian assets.           (See, e.g., id., ¶¶ 10-12, 168-

181.6.)     In the Azima Litigation, RAKIA maintained that Page

innocently discovered websites containing Azima’s hacked emails,

which    Gerrard   enlisted    Del   Rosso   to   download   in   August   and

September 2016. (See, e.g., id., ¶¶ 51-53, 336-343.11.) Del Rosso

admits that, at Gerrard’s direction, he worked on securing the

downloading of these hacked emails, which he provided to Dechert.

(See Docket Entry 4-4, ¶¶ 5-19.) However, Del Rosso maintains that

he “did not hack Mr Azima’s computers, cause him to be hacked or

know who hacked him.      [Del Rosso] did not upload his data to the

internet, cause his data to be uploaded or know who did upload his

data.”     (Id., ¶ 20.)       Yet, a former employee of CyberRoot, an


     43  At least one of these websites, which called Azima a
scammer, emphasized Azima’s connections to Dr. Massaad. (Id.,
¶ 337.)

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Indian hacking company, reported that, in 2015 and 2016, Del Rosso

employed CyberRoot to hack Azima and disseminate his emails on the

internet, for which work Del Rosso paid CyberRoot $1 million.

Azima, Docket Entry 49-1, ¶ 132.          In the Azima Litigation, Del

Rosso admitted that he engaged CyberRoot on RAKIA’s behalf and

arranged the $1 million payment to CyberRoot, but maintained “that

that was for different work which had nothing to do with Mr Azima,”

id., Docket Entry 49-1, ¶ 133.           (See also Docket Entry 16-2,

¶ 19C(2)).

     In approximately 2016, an unidentified private investigator

introduced   Del   Rosso   and   Robinson,   who   both   work   as   private

investigators.     (See Docket Entry 18, ¶¶ 1, 7.)         Thereafter, Del

Rosso enlisted Robinson in various investigations, including UAE-

related matters such as investigations of Azima.           (Id., ¶¶ 7, 9.)

In January 2018, Robinson’s company and Vital Management entered

into a consultancy agreement, pursuant to which Vital Management

made monthly payments to Robinson’s company until June 2020. (Id.,

¶ 10.)   Del Rosso also “had a general consulting arrangement” with

Grayson’s    company,   pursuant   to    which   it   “provide[d]     general

business intelligence services and advice.”           (Docket Entry 6-3 at

5; see also Docket Entry 6-4 (containing three-year nondisclosure

agreement, dated August 30, 2018, between Vital Management and

Grayson).)




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       In early 2019, Grayson began enlisting Robinson in various

inquiries, for which, with the exception of an initial £5,000 cash

payment from Grayson to Robinson, Del Rosso and/or Vital Management

paid.    (See, e.g., Docket Entry 18, ¶¶ 8, 11.)                “Whereas prior to

Mr Grayson’s involvement, Mr Del Rosso had instructed [Robinson]

directly, when Mr Grayson became involved, beginning in early 2019,

he was the one who instructed [Robinson] on the Grayson enquiries,

which [Robinson] believe[s] were made on behalf of Mr Del Rosso as

he was paying for them.”               (Id., ¶ 8.)      These inquiries include

ascertaining       “how    Mr     Al    Sadeq    was    funding     the    Al    Sadeq

[L]itigation” (Docket Entry 6-3 at 3), in connection with which

Grayson asked Robinson whether he knew anyone “capable of obtaining

bank records and other information relating to [Stokoe]” (Docket

Entry 6-1, ¶ 10), as well as ascertaining Tsiattalou’s movements in

and out of Dubai (Docket Entry 6-3 at 4-5).                   Grayson admits that

his   query     about    the    funding   of    the    Al   Sadeq   Litigation     and

Tsiattalou’s movements originated with Del Rosso, who identified

Tsiattalou “[]as the senior partner at [Stokoe]” (id. at 5).                      (See

id.     at    4-5.)       The     inquiries     also    involved     requests,      in

approximately July 2019, to investigate Stirling and Detained in

Dubai.       (Docket Entry 6-1, ¶ 13.)

       Since    disclosure        of   their    involvement    in   the    Al    Sadeq

Litigation,      Al     Sadeq’s    Litigation     and   Support     Team   has    been

subjected to overt and covert surveillance, numerous phishing and


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spear-phishing attacks, and the hacking of Stokoe’s IT system,

rendering Stokoe’s IT system inaccessible for days shortly prior to

a hearing on the Hacking Claims.         (See, e.g., Docket Entry 4,

¶¶ 10-13, 43-45.)      Tsiattalou and other members of Al Sadeq’s

Litigation and Support Team took multiple trips to Dubai between

January 2020 and March 2020 in hopes of visiting Al Sadeq at RAK

Central Prison, but RAK officials refused to allow such visits.

(See id., ¶¶ 10-11; Docket Entry 16-1, ¶¶ 215.3, 215.5.)           During

these trips, RAK security officials and individuals with Page’s

company conducted overt and covert surveillance of Al Sadeq’s

Litigation and Support Team, including breaking into Tsiattalou’s

hotel room; Page personally participated in this surveillance.

(See Docket Entry 4, ¶¶ 10-12; Docket Entry 16-1, ¶¶ 215.3-215.8.)

In January 2015, the Ruler hired Page “to investigate what the

Ruler feared was a plot between a member of his family and Dr

Massaad aimed at destabilising his rulership.”       (Docket Entry 4-2,

¶ 31.)      That engagement followed similar work that Page had

conducted for the Ruler, namely attempting between 2008 and 2010

“to ascertain through surveillance what plans Sheikh Khalid, the

Ruler’s brother, had to try to destabilise the [Ruler’s] position.”

(Id., ¶ 260.)

     When   Robinson   received   the   Robinson   Claim,   he   contacted

Grayson, Page, and Del Rosso.       (See Docket Entry 6-1, ¶ 27, 37;

Docket Entry 18, ¶¶ 17-18.)        More specifically, shortly after


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receiving the claim in the Robinson Proceeding on July 1, 2020,

Robinson called Page, whom he has known and worked with for more

than 20 years, “and informed [Page] that he had been mentioned in

Mr Tsiattalou’s witness statement” (Docket Entry 6-1, ¶ 37), the

first few pages of which Robinson sent to Page.         (Id., ¶¶ 36-37.)

On July 3, 2020, Page called Robinson, “offer[ing] to provide

[Robinson] with a ‘top lawyer’” to fight the Robinson Proceeding

and to assist with funding such endeavor, if necessary.             (Id.,

¶ 38.)   Robinson declined that offer, as he had already secured

legal representation (id.) funded by Del Rosso (see Docket Entry

18, ¶¶ 18-20).

     In this regard, Robinson averred that, when he called Del

Rosso upon receiving Stokoe’s claim, Del Rosso said that Movants’

counsel would contact Robinson and Del Rosso “would pay any legal

fees [Robinson] incurred in relation to the proceedings” as long as

Robinson “did not mention his name.”           (Id., ¶ 18.)       Shortly

thereafter, Movants’ counsel called Robinson, and Robinson and

Movants’ counsel exchanged various emails regarding the matter

(id.), including one on July 2, 2020, in which Robinson indicates

that he had “been asked to send an invoice to [Movants’ lawyer] to

cover this matter and [Movants’ lawyer] will make a payment today”

(Docket Entry 18-7 at 2).      That same day, Robinson’s company and

Vital Management, listed as “c/o” Movants’ lawyers’ then-current

firm, entered into a purported loan agreement for $25,000. (Docket


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Entry 18-8 at 2.)          Aligning with Del Rosso’s promise to Robinson

that    he    would     cover    the    legal    fees    by    establishing     a   loan

agreement, Movants have not requested repayment of the now-overdue

loan nor have Robinson and his company repaid the money.                        (Docket

Entry 18, ¶¶ 19-20.)

       In addition, shortly after July 1, 2020, Robinson became the

subject of 24-hour surveillance, which he found threatening. (Id.,

¶ 21.)       Robinson alerted Lowe, whom he knew had previously worked

with Del       Rosso,    to     the    situation,   and       Lowe   provided   24-hour

counter-surveillance and security for Robinson and his family for

the next three weeks, without charge to Robinson.                     (Id.)   Given the

circumstances, Robinson believes that Del Rosso paid Lowe for this

work.    (Id.)

       Finally, on July 16, 2020, Stokoe initiated the Grayson

Proceeding.       (Docket Entry 4, ¶ 39.)               On July 29, 2020, Grayson

issued his original affidavit, in which he denied soliciting any

confidential information regarding Stokoe or being asked to obtain

any confidential information regarding Stokoe.                       (See Docket Entry

4-15 at 2-5.)      That same day, Page advised a colleague that Grayson

was protecting Del Rosso.              (Docket Entry 16-2, ¶ 19A(5).)            Unlike

Grayson, according to the Amended Grayson Claim, in August and

September 2020, Page warned Buchanan that Page would implicate Del

Rosso, Grayson, Gerrard, Dechert, and the Ruler if necessary to

resolve the Grayson Proceeding against Page. (Id., ¶¶ 19A(2)-(4).)


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For his part, in March 2021, Grayson admitted that, prompted by Del

Rosso, he had inquired of Robinson regarding obtaining Stokoe’s

confidential information.       (See Docket Entry 6-3 at 3-5.)

       As the foregoing reflects, Movants’ contentions that “there is

zero evidence, and no allegation, that [Movants] were involved in

the torts at issue” in the Foreign Proceedings (Docket Entry 15 at

12)   and   that   Applicants   assert     only   an   insufficiently   vague

“nefarious nexus between Movants and their defendants” (id. at 21

(emphasis omitted)) lack merit.           Ample direct and circumstantial

evidence ties Movants to the defendants in the Foreign Proceedings

and the alleged wrongs against Al Sadeq and Stokoe.           For instance,

Robinson and Grayson directly connect Del Rosso to the attempts to

gain confidential information regarding Stokoe in 2020 that both

the Hacking Claims and the Amended Al Sadeq Claim challenge.               In

turn, a former CyberRoot employee reports that he and his CyberRoot

colleagues hacked Azima’s emails on Del Rosso’s instructions,

emails that allegedly implicate Al Sadeq in the fraudulent sale of

RAKIA assets in Georgia.

       Movants maintain that “discovery related to that alleged

incident . . . has no bearing on the truth or falsity of Al Sadeq’s

claim of official misconduct in his criminal proceedings” (id. at

14) because “Azima’s fraud and Azima’s emails are irrelevant to Al

Sadeq’s frauds and imprisonment” (id. at 18). However, as detailed

above,    according   to   Al   Sadeq,    his   responsibilities   at   RAKIA


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involved finalizing asset sales pursuant to the Ruler’s directive

to sell RAKIA’s foreign assets.         Al Sadeq also asserts that the

Ruler knew and approved of all of Al Sadeq’s (and Dr. Massaad’s)

actions regarding RAKIA.        Further, Al Sadeq alleges that the

charges against him, and his associated mistreatment since his

September 2014 kidnapping and arbitrary detention, arise from

political motivations, including the Ruler’s desire to hide the

Ruler’s involvement in RAKIA’s foreign investments by pursuing a

vendetta against, inter alia, Dr. Massaad.             Per Al Sadeq, this

vendetta includes attempts by Dechert Defendants (among others) to

force Al Sadeq to falsely implicate Dr. Massaad, Azima, and Mikadze

in fraud against RAKIA, attempts that succeeded by late 2015.

Accordingly, determining the circumstances by which the Ruler

obtained Azima’s emails, which implicate Al Sadeq in an alleged

fraud regarding the sale of one of RAKIA’s Georgian assets, remains

relevant to Al Sadeq’s claims regarding the Ruler’s politically

motivated campaign against Al Sadeq, Dr. Massaad, Azima, and

Mikadze,   regardless   of   the   fact   that   the    False   Confession

Statements discuss “similar fraud[s]” (Docket Entry 16-1, ¶ 183.2)

related to different RAKIA assets in Georgia.

     That conclusion would not change even if the Court accepted

Del Rosso’s assertion that he engaged CyberRoot to conduct work for

RAKIA unrelated to the hacking of Azima’s emails.         In that regard,

again as documented in the preceding discussion, since August 2014,


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at Dechert’s instigation and Gerrard’s direction, Del Rosso has

participated in a massive investigation of assets potentially

stolen from RAK’s government, including potential frauds by Dr.

Massaad and others.       Whatever work Del Rosso enlisted CyberRoot to

conduct on RAKIA’s behalf in furtherance of this investigation

bears relevance to Al Sadeq’s claims given Al Sadeq’s contentions,

inter alia, that the Ruler authorized all of Al Sadeq’s and Dr.

Massaad’s actions regarding RAKIA’s assets; that RAK authorities

and Dechert Defendants imprisoned and mistreated Al Sadeq to force

him to provide false evidence regarding Dr. Massaad and his alleged

conspiracy to defraud RAKIA; and that Al Sadeq (and Dr. Massaad)

engaged in no wrongdoing.

       Movants additionally argue that the requested discovery does

not qualify as for use in the Foreign Proceedings “because the

Foreign Claims do not involve hacking.”                 (Docket Entry 15 at 13

(emphasis    omitted).)      As    Applicants      note,    this      “argument     is

semantic,” resting as it does on the theory “that the subpoenas

should be quashed because the claims in the Foreign Proceedings do

not   use   the   word   ‘hacking.’”          (Docket    Entry   17   at    20-21.)44

Movants’    argument     ignores   the    Foreign       Proceedings’       claims   of

illicit surveillance and attempts to gain access to Al Sadeq’s



     44 It also depends on an overly narrow view of the discovery
that Applicants seek.    (See, e.g., Docket Entry 15 at 13-18
(failing to acknowledge that requested discovery extends beyond
Movants’ involvement with CyberRoot in 2015-17).)

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Legal    and   Support    Team’s    confidential      information       to   impede

Stokoe’s representation of Al Sadeq.                  Further, to the extent

Movants challenge consideration of incidents in the Tsiattalou

Declaration that “do[] not appear at all in Stokoe’s statement of

the particulars of its claim” (Docket Entry 15 at 15), that

contention lacks merit.            Of note, the Amended Al Sadeq Claim

alleges    Dechert   Defendants’     participation       in    a    conspiracy   to

“unlawfully obtain confidential and/or privileged information from

[Al    Sadeq’s   lawyers,   Stokoe,]     in    connection      with     [Stokoe’s]

representation of Mr Al Sadeq in the[ Al Sadeq Litigation]” (Docket

Entry 16-1, ¶ 215A) and to disrupt Al Sadeq’s access to legal

counsel generally (see, e.g., id., ¶¶ 214-216).                    Movants provide

support neither for the notion that the pleadings in the Foreign

Proceedings need to detail every action in furtherance of this

alleged conspiracy nor for the theory that this Court cannot

consider a Section 1782 applicant’s evidence in support of its

foreign    claims    in   determining       whether    the    discovery      sought

qualifies as relevant to such claims.          (See Docket Entry 15 at 15.)

Moreover, the evidence before this Court indicates that what

comprises relevant documentation for the UK litigation extends

beyond the claim form and particulars of claim. (See, e.g., Docket

Entry 6-1, ¶¶ 35-37 (discussing Tsiattalou witness statement served

with    Robinson    Proceeding).)       Accordingly,         Movants’    “hacking”

argument fails to justify quashing the subpoenas.


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       In sum, Movants’ arguments do not alter this Court’s previous

conclusion that the discovery sought here satisfies Section 1782’s

“for use” and relevancy requirements.         (See Docket Entry 7 at 35-

40.)    For instance, the evidence sought could help prove whether,

inter alia, Gerrard and Dechert helped interfere with Al Sadeq’s

access to legal counsel (by interfering with Stokoe’s ability to

represent Al Sadeq), as well as whether the charges and actions

against Al Sadeq arose from political motivations, including the

Ruler’s    desire    to   punish   Dr.   Massaad    and   hide   the    Ruler’s

involvement     in   RAKIA’s   foreign    investment      activities.       The

requested discovery could also help prove whether Grayson and his

codefendants, including Page, Gerrard, and Dechert, engaged in

illicit attempts to obtain Stokoe’s confidential information and to

disrupt its representation of Al Sadeq.            Accordingly, Applicants’

discovery requests meet Section 1782’s “for use” and relevancy

requirements.    See, e.g., In re Veiga, 746 F. Supp. 2d at 19; In re

Application of Sveaas, 249 F.R.D. at 103.

       Accordingly, Movants have not established grounds to quash the

subpoenas.

       D. Scope Challenge

       Movants alternatively assert that the Court should limit the

subpoenas.    (See, e.g., Docket Entry 15 at 23-26.)         In this regard,

Movants first assert that “[n]o deposition testimony should be

allowed” (id. at 23) because “[d]eposition testimony is costly and


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time-consuming, and should be denied because it is not proportional

to the needs of the case” (id. at 24 (internal quotation marks

omitted)).     However, Movants offer no specifics in support of this

generalized      contention.       (See      id.    at    23-26.)        The    Foreign

Proceedings involve allegations of, inter alia, serious human

rights    violations,       attempts    to    obtain       lawyers’      confidential

information and to interfere with their client representation, and

loss of millions of dollars worth of assets.                    Movants’ conclusory

complaint about the burden of depositions does not suffice under

the circumstances.          See Fed. R. Civ. P. 26 Advisory Committee

Notes, 2015 Amend. (explaining that one cannot “refuse discovery

simply    by     making   a    boilerplate         objection      that   it     is   not

proportional”).

     Movants further assert that denial of Applicants’ deposition

request    “is    particularly     appropriate           here    because      pre-trial

deposition testimony is not customary in English proceedings.”

(Docket Entry 15 at 24; see id. at 24-25.)                    Section 1782 provides

that, “[t]o the extent that the order [authorizing discovery] does

not prescribe otherwise, the testimony or statement shall be taken,

and the document or other thing produced, in accordance with the

Federal Rules of Civil Procedure.”            28 U.S.C. § 1782(a).             “As such,

[Section 1782] clearly contemplates depositions being taken in

accordance     with   the     Federal   Rules.”          In     re:   Application    of

Servotronics, Inc., No. 2:18-mc-364, 2021 WL 1521931, at *8 (D.S.C.


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Apr.   16,     2021).     Therefore,    “[c]ourts   frequently     permit     the

issuance       of   deposition      subpoenas     when    granting     §     1782

applications,” id., including authorizing depositions in connection

with UK proceedings, see, e.g., In re Oak Tr., No. 5:21mc7, 2021 WL

1390014, at *1-2 (M.D. Fla. Apr. 13, 2021) (authorizing subpoenas

seeking documents and depositions for use in UK proceeding).

       Next,    Movants    assert    that   the   Court   should     limit    the

responsive time period for all discovery “to January through April

2020 — the period after Al Sadeq publicized his claim and in which

Stokoe alleges it witnessed phishing attempts.”             (Docket Entry 15

at 25.)      According to Movants, “Applicants’ request for material

from 2015 to 2017 does not target relevant material.”                        (Id.)

Movants also insist that “the Court should limit the subpoenas to

[Vital Management’s] work with CyberRoot — if any — relating to

Stokoe or Al Sadeq.”          (Id. (challenging specifically document

request 5 (compare id. at 25-26, with Docket Entry 3-1 at 8, and

Docket Entry 3-2 at 8)).)           For the reasons discussed previously,

Movants’ work with CyberRoot from 2015 to 2017, which Del Rosso

admits involved RAKIA, remains relevant to, inter alia, Al Sadeq’s

claims regarding the politically motivated nature of the actions

against him. In addition, no justification exists for the proposed

time limitation. The events that the Foreign Proceedings challenge

begin long before January 2020, continue after April 2020, and

extend beyond phishing attempts targeting Stokoe.             (See generally


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Docket Entry 16-1 (challenging conduct beginning in 2014 and

continuing through issuance of Amended Al Sadeq Claim on January

29, 2021); see also, e.g., Docket Entry 16-2, ¶¶ 11A, 19C(10)

(asserting that phisphing attempts continued through September 2020

and detailing conduct on May 25, 2021); Docket Entry 18, ¶¶ 11, 14,

16-19 (asserting that Robinson engaged in work relevant to Robinson

Proceeding for which Movants paid through June 2020 and that, in

July 2020, Movants funded Robinson’s defense to Robinson Proceeding

on condition that Robinson not disclose Del Rosso’s involvement in

challenged conduct).)    Under the circumstances, the Court declines

to impose the requested limitations on the authorized discovery.

                               CONCLUSION

     Under Rule 20, Applicants appropriately pursued their Section

1782 requests through a joint Application, which the undersigned

Magistrate Judge could grant. In addition, the requested discovery

satisfies Section 1782’s “for use” requirement and does not impose

an undue burden under Intel’s discretionary factors.

     IT IS THEREFORE ORDERED that the Motion (Docket Entry 14) is

DENIED.

     This 18th day of March, 2022.

                                         /s/ L. Patrick Auld
                                            L. Patrick Auld
                                     United States Magistrate Judge




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